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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK


GIRL SCOUTS OF THE UNITED STATES
OF AMERICA,                               Case No. 1:18-cv-10287 (AKH)

                Plaintiff,
          v.

BOY SCOUTS OF AMERICA,

                Defendant.



     DEFENDANT BOY SCOUTS OF AMERICA’S MEMORANDUM OF LAW
         IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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       Pursuant to Fed. R. Civ. P. 56, Defendant the Boy Scouts of America moves for summary

judgment on Plaintiff Girl Scouts of the United States of America’s (“GSUSA”) entire First

Amended Complaint and all claims therein, as well as on the BSA’s affirmative defense of laches.

                               PRELIMINARY STATEMENT

       GSUSA’s trademark lawsuit against the Boy Scouts of America (the “BSA”) arising from

the BSA’s 2018 “Scout Me In” marketing campaign is utterly meritless, and should never have

been filed. The BSA is the senior user of SCOUT-formative branding, having been founded before

GSUSA. When GSUSA chose to change its name from Girl Guides to Girl Scouts, it assumed the

risk that Americans might assume the parties are related. Not surprisingly, GSUSA’s own research

confirms that half of Americans indeed held that belief as of 2017—before any of the events in

question in this lawsuit. GSUSA also has voluntarily associated itself with the BSA for decades,

including by participating in joint events and sharing facilities. And, GSUSA deliberately

abandoned the use of SCOUT alone at least 30 years ago, in favor of always using GIRL before

SCOUT. GSUSA’s present claim that the BSA’s 2018 “Scout Me In” marketing slogan suddenly

has caused marketplace confusion is bereft of any evidence supporting a causal connection to

confusion. The Court should grant summary judgment in the BSA’s favor on all claims.

       In October 2017, the BSA announced it would welcome girls into its two remaining single-

gender programs – Cub Scouts and Boy Scouts – offering girls the opportunity to experience these

two programs and eventually, with enough hard work, earn the prestigious Eagle Scout rank. For

the BSA it was a milestone, and for thousands of families and girls across America, it presented

an exciting opportunity.

       Despite claiming to champion girls’ rights to pursue any path they want, this was an

opportunity GSUSA did not want girls to have. Incensed by the loss of its “monopoly,” GSUSA

launched a self-described “ground war” against the BSA, aimed at pressuring it to reverse course.
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GSUSA viewed increased competition from the BSA as an “existential threat,” admitting: “With

Boy Scouts opening up their doors to girls, this means that girls who are having a bad experience

[in Girl Scouts] have options.” GSUSA’s “ground war” attempted to thwart the BSA’s efforts to

serve youth, and it deployed an aggressive public relations campaigns aimed at

                      Unbeknownst to GSUSA’s donors, licensing partners and members, GSUSA

poured                                   toward its efforts to derail the BSA’s program changes.

         One of GSUSA’s “ground war” tactics against the BSA was this lawsuit – filed not to right

any wrong, but for an improper purpose:

                                                     Lacking any legal theory that could achieve its

desired anticompetitive outcome of forcing the BSA to reverse its decision and ban the admission

of girls into its Cub Scouts and Boy Scouts programs, GSUSA instead pursued a trademark angle.

It alleged that somehow, all of a sudden in 2018, the SCOUT-formative branding the BSA had

used for decades was infringing and diluting GSUSA’s trademarks. Astonishingly, GSUSA

(falsely) alleged that the BSA had only recently begun using the term “Scout” alone in reference

to its youth members. GSUSA (also falsely) insisted that it used and had rights to SCOUT alone

as a mark in connection with girl services. And it implausibly alleged that the BSA’s May 2018

“Scout Me In” marketing campaign and the renaming of the Boy Scouts program as “Scouts BSA”

(with both boy and girl members) gave rise to trademark claims, suddenly causing consumers to

confuse the source of the parties’ respective services and diluting the “Girl Scouts” brand.

         None of these allegations are true. Undisputed evidence confirms that the BSA has been

using SCOUT alone for more than 100 years, and in connection with the marketing of its co-ed

youth services for nearly 50 years. By contrast, GSUSA has publicly disavowed the use of SCOUT




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alone in its branding for more than 40 years, always insisting that GIRL precede SCOUT, and it

has internally admitted that the word SCOUT alone identifies the BSA, not GSUSA.

       Two years after filing its lawsuit, after exhaustive discovery with hundreds of thousands of

pages of documents produced and more than 40 depositions taken, GSUSA’s meritless assertions

have yielded no proof the BSA engaged in any trademark infringement, dilution, or tortious

interference. GSUSA has no material evidence of any consumer confusion caused by the BSA’s

2018 marketing campaign, nor has GSUSA identified a single business relationship the BSA

supposedly interfered with. As for dilution, GSUSA’s own consumer research reflects that its

brand is every bit as strong now as it was before the BSA actions at issue.

       GSUSA’s own documents confirm that it has no evidence that any BSA activity – branding

or otherwise – has hurt GSUSA’s membership. Despite its exhaustive efforts to show harm by

boiling the oceans looking for possible confusion in the marketplace, GSUSA’s own internal

documents recognized there is no correlation between BSA activity and GSUSA councils

experiencing membership decline. As GSUSA’s then-Chief Girl and Family Engagement Officer

admitted shortly before this lawsuit was filed,



                                                  But monies spent on responding to a perceived

competitive threat are not recoverable in a trademark case. GSUSA has no viable damages claim.

       GSUSA’s lawsuit, designed to combat perceived competition and put political pressure on

the BSA at a time when GSUSA felt the BSA was vulnerable to attack, has caused two nonprofit

organizations to needlessly spend millions of dollars in legal fees and distract them from their

respective missions. But it yielded no triable issue on the merits of any of GSUSA’s claims, and

no recoverable damages. The BSA has never and will never use the GIRL SCOUT mark, and is



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well within its rights to continue using its SCOUT-formative branding, including for co-ed

programs, which is routinely co-brands with BSA house marks to avoid even the potential for

confusion.

       No further judicial resources should be squandered on this ill-conceived lawsuit. The

BSA’s motion for summary judgment should be granted in full.

                                 FACTUAL BACKGROUND

I.     THE PARTIES

       A.      The Boy Scouts Of America

       The BSA is a non-profit organization that aims to “prepare young people to make ethical

and moral choices over their lifetimes by instilling in them the values of the Scout Oath and Law.”

Defendant Boy Scouts of America’s Statement of Undisputed Material Facts Pursuant to Local

Rule 56.1 (“SUF”) ¶ 1. In 1910, based upon the success of the Scouting movement in Great Britain,

the BSA incorporated under the laws of the District of Columbia.

       On June 15, 1916, Congress granted the Boy Scouts of America its federal charter, giving

special protection to the organization’s name, insignia and designating marks. SUF ¶ 2; see 36

U.S.C § 309 (federal charter). The BSA launched the Cub Scout program in 1930 to serve younger

members. SUF ¶ 3. Since then the BSA has continually expanded its programs, including offering

various co-ed programs dating back nearly 50 years, while staying true to its original mission of

youth development throughout America. Since its inception in 1910, more than 130 million young

men and women have participated in the BSA’s youth programs and more than 35 million adult

volunteers have helped carry out the BSA’s mission. SUF ¶ 3.

       The BSA, the only defendant in this case, is a national organization known as the National

Council. To carry out its mission, the BSA grants charters to thousands of local organizations

across the country, including faith-based institutions, clubs, civic associations, educational

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institutions, and businesses, which come together to form Scouting units. SUF ¶ 4. Each of the

BSA’s more than 50,000 Scouting units in the United States is organized, registered, and supported

by one of more than 250 local councils that are chartered by the BSA and oversee the Scouting

program in an assigned geographic area. SUF ¶ 4. Each local council is separately incorporated

under the non-profit laws of its respective state, maintains an independent board of directors and

senior management, and is exempt from federal income tax under section 501(c)(3) of the Internal

Revenue Code. SUF ¶ 5. Scouting units are led by adult volunteers appointed by the chartered

organization. Declaration of Patrick Sterrett (“Sterrett Decl.”) ¶ 2

       B.      The Girl Scouts Of The United States Of America

       GSUSA founder Juliette Gordon Low formed a program in 1912, two years after the

founding of the BSA, that sought to bring to the U.S. a program that would mirror the Girl Guides

programs in the United Kingdom; she called it Girl Guides. SUF ¶ 7. In 1913, Ms. Low’s

organization renamed itself as the “Girl Scouts,” incorporated in 1915, and today is known as the

Girl Scouts of the United States of America. SUF ¶ 7.

       GSUSA has always been, and remains, proudly a “girls only” organization. SUF ¶ 8. Its

foundational documents and mission statement – to “build[] girls of courage, confidence, and

character, who make the world a better place” – reflect GSUSA’s exclusive focus on single-gender

programs designed for girls. SUF ¶ 8.

II.    THE PARTIES’ TRADEMARKS AND BRANDING

       A.      The BSA’s Use Of SCOUT Marks Over The Past Century

       Throughout its history, the BSA has used non-gender-specific SCOUT marks – that is,

“scout” without being preceded by the gender-specific term “boy” – in connection with single-




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gender programs for more than a century. SUF ¶ 9. 1 For instance, in 1913 the BSA began

publishing a magazine titled Scouting, pictured below:




Declaration of Tracy Waters (“Waters Decl.”) ¶ 8 & Ex. H.

        SCOUT-formative branding is deeply ingrained in everything the BSA is and does, and

has been since its inception. For example:

    •   SCOUTING & SCOUTER. Since 1913, the BSA has used the mark SCOUTING as the
        name and identifier of its magazine for male and female adult SCOUTERS in the BSA.
        The BSA obtained a trademark registration for the mark SCOUTING in 1982. Id.; SUF
        ¶ 13.

    •   SCOUTING.ORG. Since at least 1994, the domain used by the BSA for its flagship
        website has been, and continues to be, scouting.org. SUF ¶ 14. In addition, the BSA has
        registered and maintained the following domains continuously for the last fifteen years or
        more: scoutingmagazine.org (since 2000), bsascouting.org (since 2000) scoutmasters.com
        (since 2002), scoutgear.com (since 2002), scoutjamboree.com (since 2004), and
        beascout.org (since 2007). SUF ¶ 14.

    •   SCOUT STUFF & SCOUT SHOP. Since 2006, the BSA’s e-commerce website to
        promote and sell goods to male and female youth members and adult volunteers involved
        in BSA’s programs has operated under the brand SCOUT STUFF or SCOUT SHOP. SUF

1
    Historical records confirm that the BSA has used the term “BSA,” as well as its fleur-de-lis
logo, for more than a century, and its “Cub Scouts” name and logo for more than 80 years. SUF
¶¶ 10-11.

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       ¶ 15. The BSA obtained a federal trademark registration for the mark SCOUT SHOP BOY
       SCOUTS OF AMERICA in 1985. SUF ¶ 13. The BSA obtained federal trademark
       registrations for the mark SCOUT STUFF in 1998. SUF ¶ 13.

The USPTO has granted the BSA dozens of SCOUT-formative federal trademark registrations,

unaccompanied by a gender-specific term, including the below:

           SCOUT                                    SCOUTCAST
           SCOUTING                                 SCOUTING WORKS
           CUB SCOUTS                               SCOUTWEAR
           EAGLE SCOUT                              SCOUTS IN MOTION
           SEA SCOUTS                               SCOUTINGU
           STEM SCOUTS                              VOICE OF THE SCOUT
           SCOUTMASTER                              THIS IS SCOUTING
           SCOUT WIRE                               CAMP SCOUT!
           SCOUT STUFF                              MY.SCOUTING
           SCOUTSTUFF.ORG                           SCOUTSTRONG
           NATIONAL SCOUT JAMBOREE                  SCOUTFIT
           VARSITY SCOUT                            SCOUTING FOR ADVENTURE
           FRIENDS OF SCOUTING                      SCOUTING FOR FOOD
           SCOUT COFFEE                             NATIONAL SCOUTING MUSEUM
           SCOUT FOLKS                              SCOUTNET
SUF ¶ 13; see Declaration of Dylan I. Scher (“Scher Decl.”), Ex. SSSSSSS (examples). The BSA

publishes and maintains a “Language of Scouting” reference tool which serves as the “definitive

resource on terms and style specific to Scouting and this organization.” Declaration of Michael

Ramsey (“Ramsey Decl.”) ¶ 11 & Ex. Y. These standards have been developed so that the BSA

can disseminate resources and other information “in the most professional, consistent, coherent,

and uniform manner for all forms of communication.” Id. The Language of Scouting includes

many SCOUT-formative terms that have been in use for many years, and in some cases (like

“Scout,” “Scouter,” “Scout Oath,” “Scouting Magazine” and the like) for many decades. Id. The

BSA has thus acquired rights in non-gender-specific SCOUT marks.2 See also 36 U.S.C § 30905


2
    Courts have long recognized the BSA’s rights in the marks SCOUT and SCOUTING. See,
e.g., Adolph Kastor & Bros. v. FTC, 138 F.2d 824, 825 (2d Cir. 1943) (affirming finding that “even
before the incorporation of the Boy Scouts of America, the words ‘Scout’ and ‘Scouting’ had
acquired a secondary meaning as applying to the Boy Scout movement”).

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(BSA has “exclusive right” to use “descriptive or designating marks, and words or phrases it

adopts).

       B.      The BSA’s Decades Of Use Of SCOUT Marks In Connection With Co-Ed
               Services For Girls And Boys

       The BSA began welcoming female youth into co-ed programs beginning with the

Exploring program in 1971. SUF ¶ 16. Thereafter, the BSA changed its mission statement to refer

to “young people,” rather than just boys, and the mission statement has since been: “to prepare

young people to make ethical and moral choices over their lifetimes by instilling in them the values

of the Scout Oath and Law.” Sterrett Decl., ¶¶ 2, 15. In 1972, the BSA’s Sea Scouts (then known

as Sea Exploring) program became co-ed, serving boys and girls aged 14 to 20. Id. ¶ 14. In 1998,

BSA officially re-named its co-educational Sea Exploring program Sea Scouts and launched its

co-ed Venturing program for young men and women aged 14 to 20. Id. In 2015, the BSA added

another co-ed program, STEM Scouts, for boys and girls aged 8 to 18. Id. As of 2017, the Cub

Scouts and Boy Scouts programs were the only remaining single-gender BSA programs.

       Historical records confirm that the BSA has used its SCOUT-formative branding

(including SCOUTING, SCOUTS and SCOUT) in various circumstances in connection with its

co-ed programs for girls dating back decades. SUF ¶ 19. The BSA has also featured both SCOUT-

formative branding and images of girls in advertising for its co-ed programs dating back several

decades. SUF ¶¶ 17-19. That trend has increased over the decades, with the addition of each co-

ed BSA program from the 1970s, onward.

       Then, and now, the BSA’s use of SCOUT or SCOUTING alone is routinely accompanied

by other distinctive BSA branding indicia, including program names, the BSA corporate name,

BSA program logos, and the fleur-de-lis. SUF ¶¶ 12. While each program and its members can

be identified by their unique name (such as Venturers, Sea Scouts and Stem Scouts), all youth in


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all of these programs are members of both the BSA and the World Organization of the Scout

Movement (“WOSM,” the largest international Scouting organization for co-ed Scouting of which

the BSA is a member), and all are properly called Scouts. SUF ¶ 21; Ramsey Decl. ¶ 14. Examples

of the BSA’s use of SCOUT-formative branding in connection with female members follows:

              1973                                             1998




              2012                                             2000




                                             2015




                                              9
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Waters Decl., Exs. J, K, M; Ramsey Decl. Exs. DD, II.

       C.     GSUSA’s Knowledge Of And Failure To Take Action Concerning The BSA’s
              SCOUT-Formative Branding In Connection With Female BSA Members
              Dating Back Decades

       GSUSA has been on notice of the BSA’s longstanding use of non-gender-specific SCOUT

marks in a variety of contexts, including in connection with co-ed services. Communications

between GSUSA and BSA leadership reflected this awareness, including express discussions

about the BSA’s use of the word “Scout” not preceded by “Boy,” and the extent to which the

BSA’s programs were and would be co-ed. SUF ¶¶99-104. Despite this knowledge, GSUSA took

no legal action. SUF ¶¶ 105-107.

       For example, when the BSA’s Sea Scouts program became co-ed in 1972, GSUSA took

no legal action, despite the absence of a gender-specific term before SCOUT. SUF ¶ 106. In 1980

GSUSA’s National Executive Director even sent a letter to the BSA, complaining about the BSA’s

use of Scout branding with respect to female Explorer Scouts, stating that GSUSA preferred to

refer to those female members as “young women” rather than “girls” out of concern for possible

“confusion caused by the generic use of the term ‘Scouting’ without an identifier.” SUF ¶ 99; see

also id. ¶ 100 (1985 letter). Despite this stated concern, GSUSA did not take legal action in the

1980s – nor did they in 1998 when Venturers launched as a co-ed program, nor in 2015, when

STEM Scouts launched as a co-ed program. SUF ¶ 106. Nor did GSUSA take any legal action

concerning the BSA’s many trademark registrations for non-gender-specific SCOUT marks over

the past four decades. SUF ¶ 107.

       D.     GSUSA’S Consistent Use Of “GIRL” Before “SCOUT” In Its Own Branding,
              And Its Disavowal Of “SCOUT” Alone

       Since at least 1989, GSUSA’s brand guidelines have clearly instructed that “Scout” must

always be preceded by “girl”; “Scout” should never be used alone in reference to GSUSA. SUF


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¶ 22. For instance, GSUSA’s 2012 brand guidelines instructed that “‘Scout’ or ‘Scouts’ should

never be used independently.” Scher Decl., Ex. III. GSUSA’s 2010 guidelines even included the

following striking graphic:




Scher Decl., Ex. HHH. Multiple GSUSA local council guidelines revealed the reason for this

prohibition: “The word ‘Scouting’ has been copyrighted [sic] by Boy Scouts and can’t be used.”

SUF ¶ 23.    Likewise, internal GSUSA communications dating back more than 30 years

acknowledged that the term “Scout” was “used world-wide by the Boy Scouts, and always has

been,” and as a result GSUSA “chose[] to be very assertive, consistent, and positive about the use

of Girl Scouts.” SUF ¶ 100. Recent GSUSA internal communications continue to acknowledge

that the BSA, not GSUSA, owns the rights to SCOUT alone. SUF ¶¶ 101-102. As GSUSA’s then-

Chief Girl & Family Engagement Officer explained, “we generally don’t use the term ‘scout’ or

‘scouts’ referring to Girl Scouts. ‘Scout’ when used alone refers to Boy Scouts.” SUF ¶ 101

(emphasis added).3

III.   THE BSA WELCOMES GIRLS INTO CUB SCOUTS AND SCOUTS BSA

       A.      The BSA Considers Welcoming Girls Into Its Last Two Single-Gender
               Programs

       In early 2017, the BSA internally explored the idea of opening its last two single-gender

programs, Cub Scouts and Boy Scouts, to female members. This idea was not new, and had been

considered before. Scher Decl., Ex. CCCCCC. Recent BSA research indicated there was a strong

interest in such a program change: (1) 90% of non-Scouting parents were interested in a program



3
    USPTO records confirm that, as of the date GSUSA filed this suit, it did not own any live
trademark registrations for a trademark including the word “scout” not preceded by the word “girl.”

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like Cub Scouts for their daughters; (2) 87% of non-Scouting parents were interested in a program

like Boy Scouts for their daughters; and (3) 90% of non-Scouting girls, ages 11-18, were interested

in a program like the Boy Scouts. Ramsey Decl., ¶ 19. Parents also wanted such a program option

for their daughters because busy modern families needed a one-stop shopping option for their

children. Id.

       B.       In Response, GSUSA Launches A Self-Proclaimed “Ground War”

       In early 2017, GSUSA heard through the rumor mill that the BSA was considering

welcoming girls into its Cub Scouts and Boy Scouts programs. Scher Decl., Ex. DDDDDD.

GSUSA reacted with anger and alarm. In a scathing

                                                                                         , GSUSA

accused the BSA in summer 2017 of a “covert campaign to recruit girls.” SUF ¶¶ 26-27. GSUSA

demanded that the BSA not make these program changes giving girls the choice to join Cub Scouts

and Boy Scouts if they wished.

       Simultaneously, GSUSA launched a nationwide, self-proscribed “ground war” against the

BSA in an effort to pressure the BSA not to welcome girls into its Cub Scouts and Boy Scouts

programs. GSUSA referred to this campaign as “BSA combat” -- an “air war, ground war, and

underground war.” Scher Decl., Exs. ZZZ, AAAA. GSUSA’s “BSA Combat” tactics included:

       •    Directing GSUSA local councils to pressure their BSA local council counterparts to
            vote down any decision to welcome girls into Cub Scouts or Boy Scouts, SUF ¶ 28;

       •    Forbidding the BSA from renting GSUSA camps, SUF ¶ 29;

       •    Blacklisting dual BSA/GSUSA parent volunteers, SUF ¶ 30; and

       •
                                                                           SUF ¶ 31.

In parallel, GSUSA took numerous steps to actively associate itself with the BSA and the BSA’s

trademarks in the run-up to this litigation, including by:

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       •    Purchasing ad keywords of the BSA’s own trademarks so that the GSUSA website
            would appear in search results for these BSA terms – not only for “Scout” and
            “Scouting,” but also for “Boy Scout” and “Cub Scouts.” SUF ¶¶ 87-89; infra Part
            II.A.3.

       •    Purchasing over 700 domain names containing the word “scout” not preceded by the
            word “girl,” as well as obtaining similar social media handles, in violation of GSUSA’s
            own style guide – including attempting to acquire domain names with “STEM scouts”
            (“stemscouts.org,” “stemscouts.net”) and Webelos (“webelos.com”), which are BSA
            registered trademarks. SUF ¶¶ 90-93; 4 see also SUF ¶ 94 (then-CEO Acevedo
            directing: “grab as many social media ‘scouters’ labels as possible” because “BSA is
            … us[ing] that phrase”); infra Part II.A.3.

       •    Attempting to edit Wikipedia to insert references to GSUSA to Wikipedia pages about
            “Scouting.” SUF ¶ 95-97; infra Part II.A.3.

       C.      The BSA Formally Decides To Welcome Girls Into Its Last Two Remaining
               Single-Gender Programs, Cub Scouts and Scouts BSA

       A few months later, in October 2017, the BSA announced it would welcome girls into the

Cub Scouts and Boy Scouts programs. SUF ¶ 32. In January 2018, the BSA welcomed an initial

“early adopter” group of young girls into Cub Scouts, with the program formally opening to girls

nationwide in August 2018. SUF ¶ 58. Cub Scouts had over 114,000 girl members as of

November 13, 2019. SUF ¶ 33. The (subsequently renamed) Boy Scouts program began

welcoming girls as of February 1, 2019, and by November 13, 2019 over 27,000 girl members had

joined. SUF ¶ 34.

IV.    THE INSTANT DISPUTE

       A.      GSUSA Papers Its Ground War Plan With A Letter-Writing Campaign To
               The BSA

       In November 2017, shortly after the BSA’s announcement, GSUSA began a letter-writing

campaign against the BSA, purporting to complain about misuse of its trademarks, such as in local




4
   “WEBELOS” is a fanciful BSA term for a particular Cub Scout rank and is uniquely associated
with the BSA. SUF ¶ 123.

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flyers or on church signs. SUF ¶ 36. These letters lacked merit for a host of different reasons. For

example, GSUSA speciously complained about:

       •    Accurate references to “Boy Scouts” and “Girl Scouts” (i.e., nominative fair uses) by
            third-party organizations such as churches that hosted BSA and GSUSA meetings;

       •    Accurate references to GSUSA in BSA volunteer materials, which are nominative fair
            uses (e.g., “you can be a Girl Scout … and a Cub Scout”);

       •    BSA marketing materials accurately referencing joint events involving “Girl Scouts”
            that were expressly approved or authorized by GSUSA local councils or volunteers;
            and

       •    BSA volunteer uses of an accurate quotation from GSUSA’s founder, for which
            GSUSA admits had no trademark or copyright protection.

SUF ¶ 38. A few of the letters concerned examples of some well-intentioned volunteers who had

placed the word “girl” before the program name “Scouts BSA” when describing the troop, such as

a Facebook post describing a “Girl Scouts BSA Troops forming in Kirkland.” SUF ¶ 39. Once

brought to the BSA’s attention, the BSA immediately notified the volunteer and the post was

altered. SUF ¶ 39. None of these letters complained of or threatened the possibility of litigation

concerning the SCOUTS BSA program name change nor the SCOUT ME IN slogan. SUF ¶ 37.

       B.      The BSA’s May 2018 SCOUT ME IN Marketing Campaign, SCOUTS BSA
               Program Name Change, And Updated Brand Guidelines

        In May 2018, the BSA announced its new SCOUTS BSA program name (replacing the

“Boy Scouts” program name), along with its SCOUT ME IN marketing campaign slogan, for use

with respect to the BSA’s co-ed programs – including the Cub Scouts and Boy Scouts programs.

SUF ¶ 40.

       In selecting a new program name for Boy Scouts that would be inclusive of both genders,

the BSA engaged in thoughtful, deliberative, months-long process that involved focus group

studies and solicitation of feedback from numerous volunteers and professionals at different levels

of the organization. Ramsey Decl., ¶ 20. Through every conversation the BSA had, the name

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“Scouts” was mentioned. Id. The BSA considered several possible variants on that term, such as

Honor Scouts and Merit Scouts. In the end, Scouts BSA was selected. Id. The Scouts BSA name

draws on the long-standing reference to BSA members as “Scouts,” the strength and recognition

of the “BSA” brand, and the historical nomenclature for other BSA programs, which in the past

have been identified on youth uniforms as “Sea Scouts BSA,” “Cub Scouts BSA” and “Venturing

BSA,” for instance. Id.; Waters Decl., ¶¶ 14-19 & Exs G, N-Q (examples). For instance, below

is an image of a SCOUT BSA chest strip used in prior years on uniforms:




Waters Decl., Ex. Q.

       “Scouts BSA” is not a new BSA mark. It has been owned and used by the BSA as a web

domain dating back to approximately 2001. SUF ¶ 43. It was also used on uniform chest strips

dating back to the 1970’s, in the singular form. SUF ¶ 42.

       The SCOUT ME IN slogan is a call to action to join in the fun of BSA programming, and

highlights the inclusivity of the BSA’s welcoming of girls into Cub Scouts and Scouts BSA. SUF

¶ 44. The BSA considered a few other options, but Scout Me In was the clear winner amongst the

various proposals. Ramsey Decl., ¶ 22.

       In practice, the “Scout Me In” slogan is designed to be used on a program-specific basis.

SUF ¶ 46. The BSA Brand Center offers various branding and logo assets depicting Scout Me In

for use by the BSA and its councils, all of which are “locked up” with either a particular program

name, or the BSA corporate logo, for example as follows:



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                            “SCOUT ME IN” asset for Cub Scouts:




SUF ¶ 47; Ramsey Decl., Ex. KK. The BSA brand center does not offer assets depicting the “Scout

Me In” slogan for use by itself. SUF ¶ 47.

       C.     The BSA’s 2018 Brand Guidelines Forbidding The Use Of “Girl” Before
              “Scout”

       The BSA’s marketing materials do not use the term “Girl Scouts” to identify the BSA’s

members or programs. SUF ¶ 48. To the contrary, the BSA forbids the use of that term in

marketing materials. SUF ¶ 49. In April 2018, before announcing the Scout Me In Campaign, the

BSA reminded Local Council Executives that Local Councils and volunteers should not use the

term “Girl Scouts” in reference to BSA members or programs. SUF ¶ 49. In September and

October 2018, the BSA developed specific branding guidelines which explicitly prohibited use of

the word “girl” before “Scout” in marketing materials. SUF ¶ 50. This guidance was distributed

to the field in November 2018 as a one-page infographic and was followed by more detailed

training materials the following month. SUF ¶ 50.

       D.     GSUSA Retains




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       E.      Two Months Later, In November 2018, GSUSA Sues The BSA

       On November 6, 2018, two months after

                                                                                        , GSUSA

filed this lawsuit. Its Complaint ostensibly sought to prohibit the BSA from using its long-held

SCOUT Marks in connection with its continued efforts to offer youth or leadership programs that

include both boys and girls. See generally Dkt. 1 (Compl.). GSUSA claims that the BSA’s uses

of marks that incorporate the word “SCOUT” or its variants without being preceded by the word

“boy” in connection with BSA programs offered to both boys and girls infringe or dilute those

rights. Dkt. 89 (Am. Compl.) ¶¶ 88-138. GSUSA also alleges that the BSA tortiously interfered

with GSUSA’s prospective economic advantage because a BSA local council: (1) allegedly told

unidentified parents or girls “that there ‘are no more Girl Scouts’ or that the organizations have



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combined”; and (2) allegedly “attempted to dissuade” a retailer in Red Bluff California “from

providing booth space” to GSUSA. Id. ¶¶ 69-72, 139-144.

       The parties have been engaged in discovery for the better part of two years. On November

23, 2020, at the BSA’s demand, GSUSA dismissed with prejudice its trademark dilution by

tarnishment claims and filed an Amended Complaint deleting those claims. See Dkt. 1 (Compl.);

¶¶ 86-87, 115-120 (federal statute), 136-139 (state statute); Dkt. 89 (Am. Compl.). Consequently,

GSUSA’s dilution claims are now limited solely to dilution by blurring.

       F.      GSUSA’s Failure To Produce Admissible Evidence Of Actual Confusion

       In discovery, GSUSA identified nearly two dozen 30(b)(6) witnesses to testify regarding

supposed instances of actual confusion. However, not a single GSUSA witness testified to having

personal, firsthand knowledge of any instance of actual confusion, i.e., a one-on-one conversation

with someone who mis-enrolled in the BSA thinking it was GSUSA based on the BSA’s use of

the SCOUT ME IN slogan or other SCOUT Marks. SUF ¶ 55. Rather, they testified largely to

multiple layers of hearsay, conveying secondhand or thirdhand conversations with unidentified

people about vague and unspecified impressions. For example:

       •    GSUSA’s 30(b)(6) witness from Girl Scouts of Arkansas, OK and Texas admitted she
            did not “personally witness[]” or have first-hand knowledge of any instances of
            confusion. SUF ¶ 55.

       •    GSUSA’s 30(b)(6) witness from Girl Scouts of Northern California testified that she
            “wasn’t a direct witness to” instances of alleged confusion, and instead only that she
            would testify about “things that people told [her].” SUF ¶ 55.

       •    GSUSA’s 30(b)(6) witness from Girl Scouts of Gulfcoast Florida could not identify
            any specific instance of alleged confusion she witnessed first-hand or had first-hand
            knowledge of. SUF ¶ 55.

       •    Another GSUSA 30(b)(6) witness from Girl Scouts of Gulfcoast Florida could not
            identify any specific instance of alleged confusion she witnessed first-hand; the only
            such instance she testified about was at an event she was not at and concerned an
            individual who told Davis she was not confused. SUF ¶ 55.


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       •   GSUSA’s 30(b)(6) witness from Girl Scouts of Minnesota and Wisconsin River
           Valleys, Inc. could not identify a single instance of confusion she witnessed first-hand
           or had first-hand knowledge of, and could not even identify any instance of alleged
           confusion she knew about second or third-hand without “reviewing some of the
           documents.” SUF ¶ 55.

       •   GSUSA’s 30(b)(6) witness from Girl Scouts of North Carolina and Coastal Pines
           admitted she “d[id] not personally have any firsthand knowledge of any … instances
           of alleged confusion.” SUF ¶ 55.

       •   GSUSA’s 30(b)(6) witness from Girl Scouts of Western Oklahoma could not identify
           a single instance of confusion she witnessed first-hand or had first-hand knowledge of.
           SUF ¶ 55.

       •   GSUSA’s 30(b)(6) witness from Girl Scouts of Northeast Texas could not identify any
           specific instance of alleged confusion she witnessed first-hand or had first-hand
           knowledge of. SUF ¶ 55.

                                     LEGAL STANDARD

       The Court “shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).

       “In moving for summary judgment against a party who will bear the ultimate burden of

proof at trial, the movant’s burden will be satisfied if he can point to an absence of evidence to

support an essential element of the nonmoving party’s claim.” Goenaga v. March of Dimes Birth

Defects Found., 51 F.3d 14, 18 (2d Cir. 1995). Upon that showing, “the burden shifts to the non-

movant to point to record evidence creating a genuine issue of material fact.” Salahuddin v. Goord,

467 F.3d 263, 273 (2d Cir. 2006).

                                         ARGUMENT

I.     GSUSA HAS FAILED TO CREATE A TRIABLE ISSUE ON ITS CLAIMS FOR
       TRADEMARK INFRINGEMENT

       GSUSA raises no triable issue of fact that would support a reasonable finding that the

BSA’s use of the marks SCOUTS BSA, SCOUT ME IN, SCOUT, SCOUTS and SCOUTING, or


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the term “Family Scouting” (the “SCOUTS Marks”)5 to market its programs for girls and boys is

likely to cause confusion.6 The Court should therefore grant summary judgment on GSUSA’s

federal and common-law trademark infringement-based claims (Counts I, II, and V).

       Once a plaintiff establishes that it owns a protectable mark, courts analyze federal and

common-law trademark infringement, unfair competition, and false-designation claims under the

same standard: “the plaintiff must prove that the defendant’s use of the allegedly infringing mark

would likely cause confusion as to the origin or sponsorship of the defendant’s goods with

plaintiff’s goods.” Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 588 F.3d 97, 114 (2d Cir.

2009). “[L]ikelihood of confusion turns on whether ‘numerous ordinar[il]y prudent purchasers are

likely to be misled or confused as to the source of the product in question because of the entrance

in the marketplace of defendant’s mark.’” Estee Lauder Inc. v. The Gap, Inc., 108 F.3d 1503,

1510 (2d Cir. 1997) (quoting Gruner + Jahr USA Publ’g v. Meredith Corp., 991 F.2d 1072, 1077

(2d Cir. 1993)). “Likelihood of confusion means a probability of confusion; it is not sufficient if

confusion is merely ‘possible.’” Id. (quotations omitted). To assess the likelihood of confusion,

courts apply the eight-factor balancing test set forth in Polaroid Corp. v. Polarad Elecs. Corp.,

287 F.2d 492 (2d Cir. 1961). See Starbucks, 588 F.3d at 115. The eight non-exclusive factors are:

       (1) strength of the trademark; (2) similarity of the marks; (3) proximity of the
       products and their competitiveness with one another; (4) evidence that the senior
       user may “bridge the gap” by developing a product for sale in the market of the
       alleged infringer’s product; (5) evidence of actual consumer confusion; (6)
       evidence that the imitative mark was adopted in bad faith; (7) respective quality
       of the products; and (8) sophistication of consumers in the relevant market.


5
  GSUSA mentions a “Family Scouting” mark only a single time in the Complaint. Dkt. 89 (Am.
Compl.) ¶ 50. The same analysis applies to this term as with the other SCOUT-formative marks.
6
   It is beyond dispute that the BSA does not, and never has, used the GIRL SCOUT mark to
market or describe its services. SUF ¶ 48. To the contrary, the BSA forbids it. SUF ¶ 49.
GSUSA’s claims concerning misuse of the GIRL SCOUT mark concern third party acts which
appear to be innocent mistakes of volunteers. SUF ¶ 39.

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Id. “Where the predicate facts are beyond dispute, the proper balancing of these factors is

considered a question of law.” Playtex Prod., Inc. v. Georgia-Pac. Corp., 390 F.3d 158, 162 (2d

Cir. 2004) (affirming summary judgment in favor of defendant).

       Here, no reasonable juror could find that confusion is likely to result from the BSA’s

continued use of its SCOUT, SCOUTS, and SCOUTING marks – words that the BSA has been

using for decades. SUF ¶¶9-21. Nor has GSUSA even attempted to present any evidence that the

marks SCOUTS BSA (which includes the BSA’s name) or SCOUT ME IN have caused or would

cause confusion with GSUSA.

A.     The Strength Of The GIRL SCOUTS Does Not Favor A Finding Of Confusion

       To gauge a mark’s strength, the Court considers two factors: its conceptual (or “inherent”)

strength and its commercial strength in the marketplace. See Streetwise Maps, Inc. v. VanDam,

Inc., 159 F.3d 739, 743 (2d Cir. 1998).

       Here, GSUSA has presented evidence that the GIRL SCOUTS mark is commercially

famous and strong. In this context, the strength and fame of the GIRL SCOUTS mark favors there

being no likelihood of confusion because the mark’s strength lies entirely in its composite nature

– specifically, the prominent and meaningful lead element “Girl” – which is absent from the BSA’s

marketing. SUF ¶ 48. See, e.g., W.W.W. Pharm. Co. v. Gillette Co., 808 F. Supp. 1013, 1022

(S.D.N.Y. 1992), amended (July 14, 1992), aff’d, 984 F.2d 567 (2d Cir. 1993) (“in evaluating the

strength of the mark, SPORTSTICK must be viewed as a composite term, rather than as the sum

total of the two very general words, ‘sport’ and ‘stick’”). The strength in the GIRL SCOUTS mark

is limited to its entire composite form, which the BSA is not using. SUF ¶ 49. Thus, the strength

of the complete GIRL SCOUTS mark does not favor finding a likelihood of confusion.

       GSUSA cannot assert any rights against the BSA in SCOUTS alone, because it holds no

such rights. GSUSA has no registered trademark in “Scouts” alone. See generally Dkt. 89 (Am.
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Compl.). It is undisputed that GSUSA’s brand guidelines explicitly instruct that the second part

of its GIRL SCOUTS mark, “Scouts” not be used by itself in any GSUSA marketing materials.

See supra 13-14; SUF ¶ 22. GSUSA has admitted that it did not use the terms “Scouts” or

“Scouting” alone in commerce in the decade leading up to the filing of its complaint. SUF ¶ 25;

see also Scher Decl., Ex. RRRRR (RFA Nos. 71-72) (GSUSA not aware of any GSUSA

documents from 1987 to the present instructing or permitting GSUSA councils, troops or leaders

to use “Scout,” “Scouts,” or “Scouting” alone, without the preceding modifier “Girl,” in reference

to GSUSA, its members or its services.). Thus, GSUSA has no valid rights in SCOUTS alone.7

B.     The Parties’ Marks Are Not Similar In Their Marketplace Context

       “In assessing similarity, courts look to the overall impression created by the [marks] and

the context in which they are found and consider the totality of factors that could cause confusion

among prospective purchasers.” Gruner + Jahr USA Publ’g., 991 F.2d at 1078. Here, no

reasonable juror would find the SCOUTS Marks similar to the GIRL SCOUTS mark in the

marketplace context in which they are encountered.

       First, visually, GSUSA’s GIRL SCOUTS mark and the BSA’s SCOUTS Marks are distinct

because the former contains the conceptually significant lead component “GIRL.” “[I]t is often

the first part of a mark which is most likely to be impressed upon the mind of a purchaser and

remembered.” Presto Prods., Inc. v. Nice-Pak Prods., Inc., 1988 WL 252340, at *3 (T.T.A.B.




7
    See, e.g., Stephano Bros. v. Stamatopoulos, 238 F. 89, 90 (2d Cir. 1916) (“the exclusive right
to a trade-mark grew out of its use”); Gameologist Grp., LLC v. Sci. Games Int’l, Inc., 838 F. Supp.
2d 141, 154 (S.D.N.Y. 2011), aff’d, 508 F. App’x 31 (2d Cir. 2013) (“The right to exclusive use
of a trademark derives from the use in commerce of the mark, rather than from the mark’s mere
adoption.”).


                                                22
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Sept. 14, 1988).8 This prominence is especially relevant here, where the featured “GIRL” element

does the work of distinguishing the services offered under the mark GIRL SCOUTS: that

GSUSA’s programs are meant for girls only and proudly so, as GSUSA represents. SUF ¶ 22. In

contrast, the BSA has no girl-only programs. SUF ¶ 35. The accused phrases “Scout Me In,”

“Scouts BSA” and “Family Scouting” are even more dissimilar. Each includes terms not found in

the GIRL SCOUTS mark, and are further visually and verbally distinct from all of GSUSA’s

“GIRL SCOUT” variations (especially “Scouts BSA,” which incorporates the BSA’s own name).

       Second, the Court does not inspect the marks in a vacuum, but rather “look[s] to the overall

impression created by the [marks] and the context in which they are found.” Gruner + Jahr USA

Publ’g, 991 F.2d at 1078. “The fact that the marks use the same word is not dispositive if the

differences in the ways the marks are presented in the marketplace make confusion less likely.”

J.T. Colby & Co. v. Apple Inc., 2013 WL 1903883, at *1, *16 (S.D.N.Y. May 8, 2013), aff’d, 586

F. App’x 8 (2d Cir. 2014) (granting summary judgment to defendant despite two identical word

marks, IBOOKS).9



8
    See also, e.g., Joules Ltd. v. Macy’s Merch. Grp. Inc., 2016 WL 4094913, at *7 (S.D.N.Y. Aug.
2, 2016), aff’d, 695 F. App’x 633 (2d Cir. 2017) (MAISON JULES not similar to JOULES
“particularly because the dissimilar word is first”); Maxwell Shoe Co. v. Edelman Shoe Co., LLC,
2004 WL 6225744, at *2 (D. Mass. Aug. 5, 2004) (“the first word of a mark may be ‘dominant’
by virtue of its prime placement”); Glenmore Distilleries Co. v. Nat’l Distillers Prod. Corp., 23 F.
Supp. 928, 932 (E.D. Va. 1938), aff’d, 101 F.2d 479 (4th Cir. 1939) (“When two competing marks
each consists of two words, the last words being identical and the first words being different in
meaning, sight and sound, the dissimilar words render the trade-marks, viewed in their entirety,
clearly distinguishable to the eye and ear.”).
9
    See also, e.g., Star Indus., Inc. v. Bacardi & Co., 412 F.3d 373, 386 (2d Cir. 2005) (similar);
Denimafia Inc. v. New Balance Athletic Shoe, Inc., 2014 WL 814532, at *14 (S.D.N.Y. Mar. 3,
2014) (“any similarity between the marks is unlikely to cause confusion because both New Balance
and Denimafia use the symbols in conjunction with their respective” brand indicia); O’Keefe v.
Ogilvy & Mather Worldwide, Inc., 590 F. Supp. 2d 500, 521 (S.D.N.Y. 2008) (granting summary
judgment to defendant even though marks “have several words in common” because “[g]iving due
attention to the entire context, it is apparent that the marks are not confusingly similar”).

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       Here, the marketplace context of the marks indisputably distinguishes them: the BSA’s

SCOUT Marks consistently appear alongside other recognized BSA source indicia, including its

iconic fleur-de-lis logo and the BSA name, or, in the case of Cub Scouts, in connection with Cub

Scouts’ distinctive wolf in the diamond logo and the name “Cub Scouts,” which the BSA has used

for more than 75 years.     SUF ¶¶ 58, 10-12.       Likewise, the SCOUT Marks are routinely

accompanied by Cub Scout colors of blue and gold, or the BSA’s colors of blue, white, and red.

SUF ¶ 12. In contrast, GSUSA uses its GIRL SCOUTS mark in connection with its trefoil logo,

the Kelly green color, and/or a distinctive, lowercase font. SUF ¶ 56. For example, the below

presents an array of examples of how the parties actually use their respective marks in the

marketplace, including on their respective websites and application materials.

    BSA uses of SCOUT Marks & logos              GSUSA uses of GIRL SCOUTS mark & logos




Ramsey Decl., Ex. R, T; Sterrett Decl., Ex. C; Scher Ex. HHH, LLLL, MMMM, EEEEEE.

       The BSA’s website includes extensive BSA branding, including the full name “BOY

SCOUTS OF AMERICA” and signature logo, that could not plausibly confuse customers into




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thinking it is GSUSA’s website. SUF ¶ 57. As shown below, the Scouts BSA webpage includes

the full organizational name, logo, and references to the BSA’s iconic, famous “Eagle Scout” mark:




                                               25
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SUF ¶ 57; see also Scher Decl., Ex. NNNN. The marketplace contexts thus reinforce the lack of

similarity.10 SUF ¶ 58. Accordingly, this factor strongly favors the BSA.

C.     GSUSA Admits That The Parties Exist In Two Different Markets

       GSUSA and the BSA offer distinct goods and services to different markets, which further

weighs against a likelihood of confusion. See, e.g., Arrow Fastener Co. v. Stanley Works, 59 F.3d

384, 396-97 (2d Cir. 1995). “[T]he fact that both parties’ products exist within the same industry

is not enough.” Strange Music, Inc. v. Strange Music, Inc., 326 F. Supp. 2d 481, 491 (S.D.N.Y.

2004) (collecting cases).11 For example, the Court must consider “audience appeal.” C.L.A.S.S.

Promotions, Inc. v. D.S. Magazines, Inc., 753 F.2d 14, 18 (2d Cir. 1985) (no proximity where

“both magazines are directed to black American audiences,” but one emphasizes “third world and

West Indian cultures, whereas” the other “has no such emphasis”).

       Here, GSUSA admits that its programs are distinct from the BSA’s, including because

GSUSA’s offerings are exclusively for girls, while the BSA has no such emphasis:

       •   Sylvia Acevedo, then-CEO of GSUSA, testified that the BSA and GSUSA “are two
           different markets.” (emphasis added). SUF ¶ 59.

       •   Andrea Bastiani Archibald, GSUSA’s former Chief Girl and Family Engagement
           Officer, admitted that GSUSA believes current parents would not be confused between

10
    See Gruner + Jahr USA Publ’g, 991 F.2d at 1078 (marks for PARENTS magazine and
PARENT’S DIGEST magazine not similar based on “the context in which they are found,”
including that they share only one word and the presence of other accompanying indicia); see also
J.T. Colby & Co., 2013 WL 1903883, at *17 (giving weight to “the context in which [the marks]
appear” because “the plaintiffs’ mark is in close proximity to contextual information indicating
that it is associated with” the plaintiff, while the defendant’s “Apple iBooks mark, on the other
hand, appears in an Apple-branded environment”); First Nat’l Bank of Omaha, Inc., 2004 WL
1575396, at *9 (any similarity between SMARTONE and ONESMART “is lessened substantially
by their commercial presentation,” including other brand indicia, and thus “there is an insufficient
basis to find that their similarity is likely to cause confusion”).
11
    See also Malaco Leaf, AB v. Promotion In Motion, Inc., 287 F. Supp. 2d 355, 373 (S.D.N.Y.
2003) (proximity favors defendant: “While the parties compete in the gummy candy industry, it
is undisputed that the parties sell their products to different sectors of the candy market …”); Arrow
Fastener, 59 F.3d at 396 (lightweight staplers and pneumatic staplers not proximate).

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           GSUSA and the BSA due to awareness of “the uniqueness of our separate
           organizations.” (emphasis added). SUF ¶ 60.

       •   Christine Butler, former Deputy Chief Marketing Officer of GSUSA, testified at
           deposition that she agreed that “the programming of Boy Scouts of America is not
           comparable to the programming of GSUSA.” (emphasis added). SUF ¶ 61.

       •   GSUSA documents describe its programs as “a unique, all-girl place designed to help
           [girls] reach their full G.I.R.L potential.” (emphasis added). SUF ¶ 62.

       •   GSUSA views these differences as crucial because “the girl-only, girl-defined, and
           girl-led aspects of Girl Scouts are crucial to what we offer.” (emphasis added). SUF
           ¶ 62.

Because GSUSA “targets its product at a distinct group of consumers” – “girls only” adherents –

the markets are not proximate. Vitarroz Corp. v. Borden, Inc., 644 F.2d 960, 967 (2d Cir. 1981).

Moreover, as GSUSA has acknowledged, the public perceives the programs as offering distinct

services – for example, GSUSA concedes that “GSUSA is strongly associated with cookies,” while

the BSA is strongly associated with outdoor activities and not with cookies, supported by GSUSA-

commissioned studies. SUF ¶ 63.

       This factor also weighs in the BSA’s favor.

D.     GSUSA Admits It Will Not Bridge The Gap

       This factor looks to “the likelihood that [GSUSA] will enter [the BSA’s] business or the

average customer’s perception of the likelihood that [GSUSA] would enter the [BSA’s] market.”

The Sports Auth., Inc. v. Prime Hosp. Corp., 89 F.3d 955, 963 (2d Cir. 1996). GSUSA has

admitted that it will not bridge the gap by welcoming boys into its females-only, girl-led programs.

SUF ¶ 8. This factor thus favors the BSA.

E.     GSUSA Has No Admissible Evidence Of Actual Confusion

       “[E]vidence of actual confusion … must show that the confusion was caused by the

trademarks employed.” Streamline Prod. Sys., Inc. v. Streamline Mfg., Inc., 851 F.3d 440, 457



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(5th Cir. 2017) (emphasis added, quotations omitted). GSUSA makes three arguments in support

of its claim that actual confusion exists. None raise a triable issue of fact.

       First, GSUSA identifies seven individuals nationwide who it claims mistakenly enrolled

their children in a BSA program due to the BSA’s SCOUT Marks at issue at some point over the

past nearly-three years. SUF ¶ 64 (naming

                                                                       as actually confused parents).

However, GSUSA proffered no admissible evidence supporting these seven claimed instances,

relying instead on layers of hearsay. SUF ¶ 65.12 And, this case is a perfect illustration as to why

the hearsay rule is important, because as it turns out, indisputable evidence confirms that at least

four of these seven individuals were not confused at all:

       •                   has submitted a sworn declaration confirming that she was fully aware
           she was signing her daughter up for Cub Scouts and not GSUSA. SUF ¶ 65(a)
           (Declaration of                  ).

       •             has submitted a sworn declaration confirming she knew she was signing her
           daughters up for Cub Scouts. SUF ¶ 65(b) (Declaration of              ).

       •   GSUSA’s own internal documents confirm that GSUSA Council employees spoke to
                      , who attended a BSA sign-up night with                     ;
           informed GSUSA that “[s]he was not misled during the meeting that it was Girl Scouts
           – she knew it was Cub Scouts the whole time.” SUF ¶ 65(c); see also SUF ¶ (d)
           (30(b)(6) designee doesn’t “have any information” about               ).

       As for the three remaining names, GSUSA’s 30(b)(6) witnesses conceded that they had no

idea why any of these three allegedly were confused. SUF ¶¶ 65(e)-(f); see also SUF ¶ 65(g)

(similar). Without evidence of causation, these three instances prove nothing. See Inc. Publ’g




12
    The Court has broad discretion to discount or deem inadmissible anonymous, anecdotal
evidence of actual confusion. Nora Beverages, 269 F.3d at 123-24; see also Star Indus., Inc., 412
F.3d at 388 (“testimony by several interested witnesses recounting a handful of anecdotes,
including a number of hearsay statements by unidentified and unidentifiable declarants” does not
sustain a triable issue of fact on actual confusion). SUF ¶ 65; cf. SUF ¶ 55.

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Corp. v. Manhattan Magazine, Inc., 616 F. Supp. 370, 388-89 (S.D.N.Y. 1985) (anecdotal

evidence not probative absent evidence of whether the mark caused the confusion alleged), aff’d,

788 F.2d 3 (2d Cir. 1986). Even fully crediting them, they are de minimis and insufficient to raise

a triable issue. See, e.g., Nora Beverages, Inc. v. Perrier Grp. of Am., Inc., 269 F.3d 114, 124 (2d

Cir. 2001) (“two anecdotes of confusion over the entire course of competition constituted de

minimis evidence insufficient to raise triable issues”).13

         In sum, despite two years having passed since the BSA began welcoming girls into these

two programs, and with well over 120,000 girls having since enrolled, GSUSA has not

substantiated a single admissible instance of actual confusion attributable to the Marks at issue.

SUF ¶¶ 33-34; SUF ¶ 64. The absence of such evidence is proof of the absence of actual confusion.

See, e.g., Universal City Studios, Inc. v. T-Shirt Gallery, Ltd., 634 F. Supp. 1468, 1478 (S.D.N.Y.

1986).

         Second, GSUSA proffers the confusion survey conducted by its expert Dr. Eugene

Ericksen. But for the reasons explained in the BSA’s motion to exclude the testimony of Dr.

Eugene Ericksen, GSUSA’s confusion survey is inadmissible and subject to exclusion because he

used a fatally defective test stimulus (consisting of two interior pages plucked from inside a 12-

page, non-consumer facing brochure) as well as a fatally defective control stimulus. See BSA’s



13
   “[T]he number of instances of actual confusion must be placed against the background of the
number of opportunities for confusion.” J. Thomas McCarthy, MCCARTHY ON TRADEMARKS &
UNFAIR COMPETITION (“MCCARTHY”) § 23:14. See, e.g., Nabisco, Inc. v. PF Brands, Inc., 191
F.3d 208, 228 (2d Cir. 1999) (court must compare number of instances to opportunity of exposure);
C.L.A.S.S. Promotions, 753 F.2d at 18 (isolated instances over four years de minimis); Codename
Enters., Inc. v. Fremantlemedia N. Am., Inc., 2018 WL 3407709, at *11 (S.D.N.Y. Jan. 12, 2018)
(“over 20 examples” de minimis because “the relatively low number of misdirected
communications suggests than any confusion is minimal when measured against the reach of
Defendant’s television network”); Denimafia Inc, 2014 WL 814532, at *19 (five anecdotes is “de
minimis evidence, insufficient to raise a triable issue”).

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Motion to Exclude Dr. Ericksen’s Confusion Survey (incorporated by reference as though fully

set forth herein); see also Kargo Global, Inc. v. Advance Magazine Publishers, Inc., 2007 WL

2258688, at *10 (S.D.N.Y. Aug. 6, 2007) (excluding survey due to defective stimulus). This “lack

of survey evidence counts against finding actual confusion.” Merriam-Webster, Inc. v. Random

House, Inc., 35 F.3d 65, 72 (2d Cir. 1994).

       Third, GSUSA argues that customer inquiries as to whether GSUSA and the BSA had

merged constitute actual confusion. They do not. “[T]rademark infringement protects only against

mistaken purchasing decisions and not against confusion generally.” Lang v. Ret. Living Pub. Co.,

949 F.2d 576, 583 (2d Cir. 1991) (quotations omitted); see also, e.g., LVL XIII Brands, Inc. v.

Louis Vuitton Malletier S.A., 209 F. Supp. 3d 612, 672 (S.D.N.Y. 2016), aff’d, 720 F. App’x 24

(2d Cir. 2017) (inquiries about relationship between plaintiff and defendant are “not probative of

actual confusion”). Nor does GSUSA have any evidence that any merger inquiry “was caused by

the trademarks employed and [] swayed consumer purchases.” Streamline Prod. Sys., Inc., 851

F.3d at 457; O’Keefe, 590 F. Supp. 2d at 524 (similar). SUF ¶ 65.

       Indeed, GSUSA cannot possibly prove, as it must, that the 2018 Scout Me In Campaign

triggered actual confusion, because GSUSA’s own research confirms that as of September 2017 –

before any of the events in question in this lawsuit – fully half of Americans (mistakenly) believed

GSUSA and the BSA were related. SUF ¶ 67. And based on a consumer study GSUSA

commissioned back in 1980, Burns Roper advised GSUSA that up to 75% of the U.S. public were

not certain the organizations were separate. See SUF ¶ 68; see also SUF ¶ 69.

       GSUSA’s confusion expert even admitted that branding is not the cause of any alleged

confusion here: “it appears that when people look at marketing materials that show girls doing

scouting activities, regardless of what it’s called, unless the word boy is in the marketing materials,



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people associate that with the Girl Scouts.” SUF ¶ 70. The absence of causation evidence is yet

another, independent reason why GSUSA’s claimed confusion evidence cannot save it from

summary judgment. See, e.g., WE Media, Inc. v. Gen. Elec. Co., 218 F. Supp. 2d 463, 474

(S.D.N.Y. 2002) (not crediting anecdotal evidence of confusion where “there is nothing on the

record to identify … whether each individual was confused by [defendant’s] marketing itself or by

gossip and word-of-mouth”). This factor favors the BSA.

F.     Overwhelming Evidence Confirms That The BSA Did Not Intend To Trade Off Of
       GSUSA’s Name

       The sixth Polaroid factor “examines whether defendants “‘adopted [their] mark with the

intention of capitalizing on plaintiff’s reputation and goodwill and any confusion between [their]

and [plaintiff's] product.’” Streetwise Maps, Inc., 159 F.3d at 745; see also Star Indus., Inc., 412

F.3d at 388 (similar). GSUSA has zero evidence of bad faith. This factor is a non-starter.

       It is beyond reasonable dispute that the BSA did not “adopt” the SCOUT Marks in bad

faith. Indeed, most of these marks are not even newly adopted in the first place. The BSA has

used SCOUT, SCOUTS and SCOUTING for over 100 years, including for co-ed services since

the 1970s. SUF ¶¶ 9, 16-19; see also SUF ¶¶ 101-103 (GSUSA witness testimony and documents

admitting same). SCOUTS BSA has been used in singular form on uniform branding dating back

to the 1970s:




SUF ¶ 42; see Waters Decl., Ex. Q. The BSA also has owned and used the “scoutsbsa.org” and

“scoutsbsa.com” domain names for nearly two decades, having registered them in approximately

2001. SUF ¶ 43. Marks such as SCOUT ME IN and the phrase “Family Scouting” are a natural


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extension of the BSA’s extensive SCOUT-based branding history, for which the BSA holds dozens

of registered trademarks. SUF ¶ 13. GSUSA’s corporate designees have reluctantly admitted that

they have no evidence of willfulness other than the BSA’s choice of name itself, which of course

is circular logic that proves nothing. SUF ¶ 73.

       Not only is there an absence of bad faith evidence, but in fact, the record affirmatively

demonstrates the BSA’s good faith in adopting these marks. The BSA selected the “Scout Me In”

slogan for use as a call to action to join in the fun of BSA programming, highlighting the inclusivity

of the BSA’s welcoming of girls. SUF ¶ 44. None of the feedback the BSA received regarding

“Scout Me In” slogan indicated that anyone perceived it to be associated with GSUSA. SUF ¶ 45.

And, the SCOUT Marks indisputably describe the characteristics of the BSA’s programs: Scouting.

See, e.g., J.T. Colby & Co., 2013 WL 1903883, at *23 (“substantial evidence of [] good faith” on

summary judgment where defendant “selected a mark that describes characteristics of its product”

and “is also related to marks [defendant] has adopted for other products and services it offers”).

       This factor overwhelmingly favors the BSA.

G.     The BSA’s Programs Indisputably Are Of High Quality

       “[Q]uality is weighed as a factor when there is an allegation that a low quality product is

taking unfair advantage of the public good will earned by a well-established high quality product.”

Gruner + Jahr USA Pub’g, 991 F.2d at 1079. Thus, this factor is of little relevance here, but to

the extent it is considered, it favors the BSA because it is beyond reasonable dispute that BSA

programs are high quality. SUF ¶ 74. In the words of Congressman Glenn Thompson, “Scouting

offers the world’s finest leadership training for adults and youth, leadership training that can be

generalized to any occupations, including the United States House of Representatives.” SUF ¶ 76;

see also id. (Senator Mike Enzi complimenting the BSA).



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       GSUSA’s own actions confirm this factor as well. GSUSA has partnered with the BSA in

joint programs, events, and activities for decades, and continues to do so today. SUF ¶ 71-72.

GSUSA research also confirms that its own member feedback complimented the quality of the

BSA’s programs. SUF ¶ 75.

       This factor weighs in the BSA’s favor.14

H.     Parents And Guardians Take Great Care In Choosing To Whom They Will Entrust
       Their Children

       “A court is entitled to reach a conclusion about consumer sophistication based solely on

the nature of the product.” Star Indus., Inc., 412 F.3d 373, 390 (2d Cir. 2005). The Court should

do so here, as it is beyond question that parents and guardians are careful when choosing whom to

entrust with responsibility for their children. See Ignition Athletic Performance Grp., LLC v. Hantz

Soccer U.S.A., LLC, 2007 WL 2049005, at *7 (E.D. Mich. July 17, 2007) (in “choosing between

the parties’ soccer camps, the ordinary buyer would be expected to use a higher degree of care”

because “[t]he parent would be entrusting their child to the camp”). GSUSA’s corporate designee

also admitted that “parents are careful about signing their child up for anything.” SUF ¶ 77.15

       Moreover, recruits typically have multiple touchpoints with the BSA before deciding to

enroll. SUF ¶ 78. The joining process typically begins with BSA-branded fliers or posters that

encourage prospective members and their families to attend BSA “sign-up” nights, staffed by BSA


14
    See, e.g., Codename Enters., Inc., 2018 WL 3407709, at *12 (factor favors defendant where
“there is no dispute that Defendant’s product is high quality”); Saxon Glass Techs., Inc. v. Apple
Inc., 393 F. Supp. 3d 270, 305 (W.D.N.Y. 2019), aff’d, 824 F. App’x 75 (2d Cir. 2020).
15
    See also, e.g., Quia Corp. v. Mattel, Inc., 2010 WL 2486364, at *10 (N.D. Cal. June 15, 2010)
(“the fact that the products are aimed at parents and educators with vested interests in children’s
educational development, and the complicated process required to sign up for Plaintiff’s product,”
weigh against confusion); Heartsprings, Inc. v. Heartspring, Inc., 949 F. Supp. 1539, 1544 (D.
Kan. 1996), aff’d, 143 F.3d 550 (10th Cir. 1998) (factor weighs “heavily against” confusion where
“[e]ducators and parents would undoubtedly choose [educational materials for children] more
carefully than the average person chooses the usual consumer goods”).

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volunteer leaders accompanied by current youth members (all in BSA uniforms), with BSA

banners and flags on display. SUF ¶ 79-80. Prospective members and their families typically are

presented an array of BSA-branded materials, and BSA volunteers interact with them and describe

the experience youth members can expect. SUF ¶ 80. This is not a low involvement or casual

decision. This factor favors the BSA.

I.     The Weighing Of The Polaroid Factors Favors The BSA

        All of the Polaroid factors weigh in the BSA’s favor. Summary judgment is warranted

because GSUSA has not raised a triable issue of fact to dispute that confusion is not likely to result

from the BSA’s use of the Scouts Marks.16

       Moreover, “[i]t is well-established that the elements necessary to prevail on causes of

action for trademark infringement and unfair competition under New York common law ‘mirror

the Lanham Act claims,’” except that “a viable common law claim for unfair competition requires

an additional showing of bad faith.” Lorillard Tobacco Co. v. Jamelis Grocery, Inc., 378 F. Supp.

2d 448, 456 (S.D.N.Y. 2005) (quoting Louis Vuitton Malletier v. Dooney & Bourke, Inc., 340 F.

Supp. 2d 415, 436, 456 (S.D.N.Y. 2004)).17




16
    See, e.g., Saxon Glass Techs., Inc., 393 F. Supp. 3d at 306 (granting summary judgment on
infringement to defendant over plaintiff’s proffered survey); Disney Enters., Inc. v. Sarelli, 322 F.
Supp. 3d 413, 438 (S.D.N.Y. 2018) (granting summary judgment on trademark infringement to
defendant notwithstanding that the strength of plaintiff’s mark and the similarity of the marks
favored plaintiff); J.T. Colby & Co., 2013 WL 1903883, at *25 (similar); Giggle, Inc. v. netFocal,
Inc., 856 F. Supp. 2d 625, 637 (S.D.N.Y. 2012) (“The balance of the Polaroid factors does not
demonstrate a likelihood of confusion between Plaintiff’s family of marks and Defendant’s
mark.”); Malletier v. Dooney & Bourke, Inc., 561 F. Supp. 2d at 389-90 & n.142 (S.D.N.Y. 2008)
(similar and citing cases) (“Although Louis Vuitton’s mark is strong and there is a proximity
between the products, no one factor is determinative and the Polaroid factors cannot be balanced
according to a mathematical formula.”).
17
   GSUSA’s failure to establish bad faith here, see supra Section I.F, independently warrants
granting the BSA summary judgment on GSUSA’s common law claim.

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       Accordingly, the Court should grant the BSA summary judgment on Counts I, II, and V

(for federal and common law trademark infringement and unfair competition.

II.    GSUSA HAS FAILED TO CREATE A TRIABLE ISSUE OF FACT ON ITS
       TRADEMARK DILUTION CLAIMS

       GSUSA’s claims for trademark dilution by blurring – both under federal law (Count III)

and state law (Count VI) – fail because GSUSA cannot raise a triable issue of material fact on

either claim. The Court should therefore grant the BSA summary judgment on dilution.

       A.      GSUSA’s Federal Dilution Claim Fails

       Federal anti-dilution law provides that “the owner of a famous mark … shall be entitled to

an injunction against another person who, at any time after the owner’s mark has become famous,

commences use of a mark … that is likely to cause dilution by blurring … of the famous mark,

regardless of the presence or absence of actual or likely confusion, [or] of competition.” 15 U.S.C.

§ 1125(c)(1). “[M]any of the factors relevant to a likelihood of confusion are also relevant to a

likelihood of dilution” by blurring. Tommy Hilfiger Licensing, Inc. v. Nature Labs, LLC, 221 F.

Supp. 2d 410, 422 (S.D.N.Y. 2002) (“the above discussion of the confusion factors also disposes

of [plaintiff’s] blurring claim”).18 Proof of association alone between the marks is not sufficient

to establish a blurring claim; rather, the plaintiff must establish that, “as a result of the likelihood

that consumers will associate the marks, [the plaintiff] is likely to suffer an impairment of the

distinctiveness of its marks.” Gap, Inc. v. G.A.P. Adventures Inc., 2011 WL 2946384, at *17


18
    The factors the Court may consider in determining whether a mark “is likely to cause dilution
by blurring” include: (i) the degree of similarity between the mark or trade name and the famous
mark; (ii) the degree of inherent or acquired distinctiveness of the famous mark; (iii) the extent to
which the owner of the famous mark is engaging in substantially exclusive use of the mark; (iv)
the degree of recognition of the famous mark; (v) whether the user of the mark or trade name
intended to create an association with the famous mark; and (vi) any actual association between
the mark or trade name and the famous mark. 15 U.S.C. § 1125(c)(2)(B)(i)-(vi). GSUSA no
longer alleges tarnishment, having dismissed that claim with prejudice. See Dkt. 88.

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(S.D.N.Y. June 24, 2011) (Hellerstein, J.) (finding no blurring notwithstanding proof of

association); see also MCCARTHY § 24:120 (“[t]he fact that people ‘associate’ the accused mark

with the famous mark does not in itself prove the likelihood of dilution by blurring”).

       Here, GSUSA has no evidence whatsoever that the BSA’s SCOUT Marks are likely to

dilute the GIRL SCOUT, GIRL SCOUTS, or GIRL SCOUTING marks by “impair[ing] the

distinctiveness of the famous mark.” 15 U.S.C.§ 1125(c)(2)(B). Defendants often prevail on

summary judgment based on the mere failure of the plaintiff to provide evidence of dilution, such

as a survey. See Miss Universe, L.P., LLLP v. Villegas, 672 F. Supp. 2d 575, 595 (S.D.N.Y. 2009)

(granting summary judgment for defendants because “evidence, in the form of surveys or polls, is

commonly collected in cases like this one. … Given the conspicuous absence of evidence on this

record, the defendants are entitled to judgment on Miss Universe’s federal dilution claim.”).

       GSUSA has no dilution survey, and its own admissions foreclose the possibility of a

likelihood of dilution, entitling the BSA to summary judgment on GSUSA’s federal dilution claim.

               1.     GSUSA’s Own Evidence Forecloses its Dilution Claim

       GSUSA’s own evidence confirms that the BSA’s SCOUT marks are not likely to dilute the

GSUSA marks.

       First, GSUSA commissioned brand studies from one of the most well-reputed brand

assessment companies, Interbrand, that showed no decline in the external strength of GSUSA’s

brand between 2015 – before the BSA announced it would welcoming girls to Cub Scouts and the

program then known as Boy Scouts – and 2019 – two years after BSA announced it would begin

welcoming girls into these two programs). SUF ¶ 82. It is difficult to imagine more compelling

evidence on the question of dilution: These quantitative Interbrand studies show contemporaneous

snapshots in time of the GIRL SCOUTS brand in 2015 and 2019, performed by the same company,

using consistent methodology, and they reveal no decline in consumer perception of the brand.
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SUF ¶ 83. Indeed, the 2019 Interbrand study specifically noted that the GIRL SCOUTS brand was

just as differentiated from its competition in 2019 as it was in 2015. Id. In other words, the

distinctiveness of the GIRL SCOUT brand has not been diluted at all, rendering summary

judgment appropriate. See, e.g., Gap, Inc., 2011 WL 2946384, at *17 (Hellerstein, J.) (“Gap has

not proved that, as a result of the likelihood that consumers will associate the marks, Gap is likely

to suffer an impairment of the distinctiveness of its marks.”). GSUSA’s corporate designee

admitted in deposition that GSUSA has no evidence supporting, “and could not think of any

evidence suggesting,” a conclusion contrary to the Interbrand’s study of no external brand

diminishment. SUF ¶ 84; Scher Decl., ¶ 136 (identifying Ms. Godfrey as corporate designee on

this topic).

        Second, GSUSA’s then-CEO Sylvia Acevedo admitted in deposition that GSUSA’s brand

“continues to be very strong” – years after the BSA announced it would welcome girls to Cub

Scouts and the older youth program then known as Boy Scouts. SUF ¶ 86.

        Third, GSUSA has no expert evidence of dilution. It commissioned no dilution survey,

and its purported marketing expert Dr. Joachimsthaler admitted he made no attempt to compare

the GIRL SCOUTS brand perception in 2020 to its perception in 2017, and thus has no opinion

about if or how it has changed over that time. SUF ¶ 85. Dr. Joachimsthaler also acknowledged

the reliability of the Interbrand study.

        The Court need look no further than these GSUSA admissions to grant summary judgment.

               2.      GSUSA Cannot Prove The Necessary Elements Of Dilution

        Even if the Court disregards GSUSA’s dispositive admissions, GSUSA still cannot create

a triable issue on its dilution claim because the same factors that defeat any claim of infringement

likewise necessarily defeat GSUSA’s claim for blurring. The Second Circuit analyzes dilution by

blurring using a multi-factor test that is similar to the test for likelihood of confusion. See
                                                 37
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Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 736 F.3d 198, 207 n.10 (2d Cir. 2013) (factors

for blurring “are similar in kind to the Polaroid factors”).19 For the reasons discussed above,

GSUSA cannot show that the public will associate the BSA’s Scouts BSA program and use of any

SCOUT Marks with GIRL SCOUTS, including for lack of causation. See supra Part I.E. Nor is

GSUSA engaged in “substantially exclusive use” of the challenged marks. The undisputed record

establishes the BSA has been using “Scouts,” “Scouting” and “Scout” for more than a century.

SUF ¶¶ 9.20

               3.     To The Extent There Is Any Dilution, It Is A Self-Inflicted Harm

       If any doubt remained about GSUSA’s inability to prove a likelihood of dilution, GSUSA’s

own actions demonstrate why no reasonable juror could find dilution as a result of the BSA’s

branding. Once leaning that the BSA was considering welcoming girls into Cub Scouts and the

older youth program now known as Scouts BSA, GSUSA actively took steps to generate and

foster association of itself with BSA trademarks. Moreover, GSUSA has continued to allow

councils and troops to hold joint events with BSA councils and troops, leading some parents and

members of the general public inevitably to think the organizations are related. For example:




19
     Although GSUSA’s state-law dilution claim independently fails as discussed infra Part II.B, it
is also subject to summary judgment for the same reasons as its federal claim because the same
analysis of blurring applies. Knowles-Carter v. Feyonce, Inc., 347 F. Supp. 3d 217, 229 (S.D.N.Y.
2018) (“New York courts consider six factors when determining if blurring is likely,” and “the
first five of these factors are ‘closely analogous’ to the Polaroid factors.”) (citation omitted).
20
    Moreover, dilution is actionable only when a plaintiff proves, among other elements, that
defendant’s use “commences” after plaintiff’s mark became famous. 15 U.S.C. § 1125(c)(1).
GSUSA cannot do so because it is undisputed that the BSA began using SCOUT, SCOUTS and
SCOUTING more than a century ago. SUF ¶ 9; See New World Sols., Inc. v. NameMedia Inc.,
150 F. Supp. 3d 287, 323 (S.D.N.Y. 2015) (granting summary judgment for defendant on dilution
because plaintiff’s mark was not famous when the challenged use began); accord 15 U.S.C.
§ 1125(c)(1).

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        1. GSUSA purchased keyword advertising to redirect online searches for BSA trademarks

to GSUSA. GSUSA’s then-CEO Acevedo instructed her team to purchase paid advertising tied

directly to the BSA. SUF ¶ 87. And they did so. GSUSA admitted that in 2017 and 2018, it bid

on the BSA’s BOY SCOUTS and CUB SCOUTS trademark as keywords to trigger GSUSA

advertising on Google search results in response to searches for Boy Scouts and Cub Scouts. SUF

¶ 88. GSUSA further admitted that in 2017, 2018 and 2019, it paid for advertising so that GSUSA

would show up in response to searches for BSA trademarks such as “Scout” and “Scouting.” SUF

¶ 89.

        2. GSUSA purchased and used BSA domain names and social media handles. In 2017

GSUSA launched an online shopping spree to obtain hundreds of domain names and social media

handles associated with the BSA’s intellectual property portfolio – such as URLs like scouts.net

and scout.net that contained the word “scout” without being preceded by the word “girl.” SUF

¶ 90. GSUSA also internally discussed purchasing domain names such as “stemscouts.com,”

“stemscouts.org,” “stemscouts.net” (knowing of the BSA’s registered trademark STEM SCOUTS),

and “webelos.com,” even though WEBELOS is a fanciful BSA term for a particular Cub Scout

rank). SUF ¶ 91. GSUSA also obtained social media handles for “scoutingorg” even though the

BSA has used that domain name, scouting.org, for more than a decade. SUF ¶ 92.

        The instructions to snap up these BSA-related website domains and social media handles

came from the very top – GSUSA then-CEO Sylvia Acevedo herself, who ordered GSUSA’s

marketing team to “make sure we own as many sites, social media names as possible” because the

BSA used its domain “@scouting.org” for its email addresses. SUF ¶ 93. Acevedo further

instructed her team to “grab as many social media ‘scouters’ labels as possible” because “BSA is

… us[ing] that phrase and I’d like web searches of that phrase to point to us.” SUF ¶ 94. GSUSA’s



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Vice President of Marketing and Communications referred to these efforts to re-direct online

consumers searching for the BSA to GSUSA online content instead as “BSA Combat.” Scher

Decl., Ex. ZZZ.

       3. GSUSA unsuccessfully attempted to insert more references to GSUSA in “Scouting”

Wikipedia pages. Beginning in April 2018, GSUSA secretly tried to insert references to GSUSA

on Wikipedia pages such as the “Scouting” Wikipedia page to create a false impression that the

public associates the terms “scout” and “scouting” (without being preceded by the word “girl”)

with GSUSA. SUF ¶ 95. For example, through its PR firm Mercury, GSUSA inserted into the

opening paragraph of the “Scouting” Wikipedia page the sentence: “In 1912, Girl Scouts of the

USA was founded, which brought scouting to girls in the U.S.” SUF ¶ 96 (emphasis added).

Wikipedia rejected those and other attempts by GSUSA and its PR agency to manipulate those

pages. SUF ¶ 96. GSUSA then tried to trick Wikipedia’s editors by recruiting volunteers who

lived outside of the New York area to edit those pages so that the manipulation would not be

tracked back to GSUSA. SUF ¶ 96. GSUSA also hired third-party contractors to try to fool the

Wikipedia edits in the same fashion. SUF ¶ 96. Neither effort succeeded.

       4. GSUSA continues to allow Girl Scout troops to associate with BSA troops via joint

events. These activities include joint meetings and events and using BSA camping facilities. SUF

¶¶ 71-72. For example:

   •   Joint meetings of local BSA and GSUSA troops have been occurring for more than a
       decade within the Girl Scouts of Northern California council. The Northern California
       GSUSA and BSA troops also share property. SUF ¶ 71.

   •   A Membership Service Specialist of Girl Scouts of Central & Western Massachusetts
       Council confirmed that “there’s no official ban on ever doing any joint event of any kind
       with the Boy Scouts,” and noted that joint events include a “4th of July celebration.” SUF
       ¶ 71.




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   •   The Outside Recruitment and Marketing Manager of Girl Scouts Carolinas Peaks to
       Piedmont Council, confirmed that she believed she was permitted to “host a joint event in
       [her] region with the local BSA Council.” SUF ¶ 72.

   •   GSUSA executives and corporate designees on the topic of GSUSA’s policies testified that
       joint events between the organizations “may continue” and that GSUSA “didn’t mandate”
       that councils don’t participate in joint events. SUF ¶ 72. GSUSA local councils also have
       the discretion to cobrand with the BSA. SUF ¶ 72.

Indeed, GSUSA’s own General Counsel continues to approve joint events between the parties.

SUF ¶ 72(a). Moreover, GSUSA has historically advertised its highest award, the Gold Award,

by stating that it is comparable to the BSA’s iconic Eagle Scout rank. SUF ¶ 98.

                                          *       *       *

       All of these actions are incompatible with any genuine concern about affiliation with the

BSA diluting GSUSA’s brand, and they doom GSUSA’s dilution claim because GSUSA has

consented to, and in some cases actively fostered, this association. See Metro Pub., Ltd. v. San

Jose Mercury News, Inc., 861 F. Supp. 870, 877 (N.D. Cal. 1994) (defendant not liable for

plaintiff’s intentional association of the brands, because “[a]ny consumer confusion that resulted

from [plaintiff’s] decision is his fault, and [defendant] should not be held accountable for it”).

       B.      GSUSA’s State-Law Dilution Claim Fails

       GSUSA’s state-law dilution claim must be dismissed for the same reasons as above. See

supra Part II.A; Allied Interstate LLC v. Kimmel & Silverman P.C., 2013 WL 4245987, at *5

(S.D.N.Y. Aug. 12, 2013) (two statutes “are substantively similar and may be analyzed together”).

       As a separate and independent basis, GSUSA’s state law dilution claim fails because the

BSA’s federal registrations provide a complete defense. Under the Lanham Act, a party’s “valid

registration … on the principal register under this chapter shall be a complete bar to an action

against” the registrant for dilution under “common law or statute of a State.”            15 U.S.C.

§ 1125(c)(6) (emphasis added). See Glob. Brand Holdings, LLC v. Church & Dwight Co., 2017


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WL 6515419, at *2 (S.D.N.Y. Dec. 19, 2017) (quoting 15 U.S.C. § 1125(c)(6)) (dismissing state

dilution claim). Here, it is undisputed that the BSA has registrations for multiple SCOUT-based

terms, including SCOUTING and SCOUT. SUF ¶ 13.21 This applies to both the exact SCOUT

and SCOUTING marks the BSA has registered as well as additional terms that include these marks.

III.   GSUSA HAS FAILED TO CREATE A TRIABLE ISSUE ON ITS CLAIM FOR
       MODIFICATION OR PARTIAL CANCELLATION OF A REGISTRATION

       The BSA possesses a trademark registration for the mark SCOUT in connection with

“education services” (Reg. No. 4,865,183), which it obtained by assignment on October 23, 2015.

GSUSA seeks “modification or partial cancellation” for this mark “in connection with educational

services for girls” on the same grounds as described above, i.e., the BSA’s use allegedly is likely

to cause consumer confusion when used in connection with girls. Dkt. 89 (Am. Compl.) ¶¶ 122-

125 (Count IV). For the reasons discussed above, see supra Part I, because GSUSA cannot

establish a likelihood of confusion based on the BSA’s use of the mark SCOUT in connection with

its educational services, GSUSA’s requested remedy of modification or partial cancellation is

likewise unavailable as a matter of law. See B & B Hardware, Inc. v. Hargis Indus., Inc., 575 U.S.

138, 154 (2015) (applying same likelihood of confusion standard to infringement and registration

inquiries); Tarsus Connect, LLC v. Cvent, Inc., 452 F. Supp. 3d 1334, 1364 (N.D. Ga. 2020)

(granting summary judgment to defendant on § 1119 claim where plaintiff could not establish

likelihood of confusion on infringement).




21
   GSUSA’s attempt to modify or partially cancel GSUSA’s SCOUT registration (Count III) is
baseless, see infra Part III, and in any event “the provision precludes dilution claims under state
law if the defendant has a valid registration when the suit is filed,” i.e., “not abandoned or already
cancelled.” Global Brand Holdings, 2017 WL 6515419, at *6 (emphasis added). Moreover,
GSUSA does not dispute that the BSA’s incontestable SCOUTING registration is valid.

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IV.    THE UNDISPUTED FACTS CONFIRM THAT THE DOCTRINE OF LACHES
       PROTECTS THE BSA’S USE OF ITS SCOUT MARKS

       Although the Court need not even reach this issue because GSUSA has not raised a triable

issue in its favor on any trademark-based claim, see supra Parts I-III, the BSA alternatively is

entitled to summary judgment on Counts I-VI under the doctrine of laches.

       “Laches is a defense that bars a plaintiff’s claim in equity ‘where [the plaintiff] is guilty of

unreasonable and inexcusable delay that resulted in prejudice to the defendant.’” Juicy Couture,

Inc. v. L’Oreal USA, Inc., 2006 WL 1012939, at *33 (S.D.N.Y. Apr. 19, 2006) (quoting Ikelionwu

v. U.S., 150 F.3d 233, 237 (2d Cir. 1998)). In trademark cases, laches applies “where (1) plaintiff

had knowledge of defendant’s use of its marks, (2) plaintiff inexcusably delayed in taking action

with respect to defendant’s use, and (3) defendant suffered prejudice as a result.” Black Diamond

Sportswear, Inc. v. Black Diamond Equip., Ltd., 2007 WL 2914452, at *1 (2d Cir. Oct. 5, 2007).

       Since at least 1971, the BSA openly has offered programs to girls and young women. SUF

¶ 16. For decades, GSUSA has known that the BSA did not cease its longstanding use of non-

gender-specific SCOUT marks in connection with this programming for girls, and even

complained about it – but did not sue. Specifically, in 1980 – 40 years ago -- GSUSA’s National

Executive Director wrote a letter to the BSA stating GSUSA’s preference to refer to the BSA’s

female Explorer Scouts as “young women” rather than “girls,” expressing concern regarding

possible “confusion caused by the generic use of the term ‘Scouting’ without an identifier.” SUF

¶ 99; see also SUF ¶¶ 101-102. Likewise, 1985, more than a decade after the BSA launched its

first co-ed program, GSUSA’s National Executive Director acknowledged that “Scout” is “used

world-wide by the Boy Scouts, and always has been.” SUF ¶ 100.

       Yet GSUSA took no legal action to stop the BSA’s use of the mark SCOUT in connection

with programs that welcomed girls. SUF ¶¶ 105-107. Similarly, shortly after the BSA initiated


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its co-ed STEM Scouts program in 2014, GSUSA was aware of it, and discussed it internally

amongst themselves. SUF ¶ 104. Once again, GSUSA took no legal action. SUF ¶ 106.22

        Thus, in 2018 when the BSA decided to invest in changing the name of its Boy Scouts

program to Scouts BSA and to market its programs using “Scout Me In” and “Family Scouting,”

it felt comfortable doing so, as GSUSA had never previously taken legal action against it in

connection with the BSA’s use of “Scout”-formative terms in connection with its services for girls.

SUF ¶ 107. By this time, almost 50 years after the BSA began offering services to girls in

connection with the words “Scout,” “Scouts,” and “Scouting,” and 40 years after GSUSA

complained about it, the ship had long sailed on GSUSA’s right to object. Deere & Co. v. MTD

Holdings Inc., 2004 WL 324890, at *18 (S.D.N.Y. Feb. 19, 2004) (“a presumption of laches will

arise in a trademark action if the plaintiff fails to bring suit within the six-year statute of limitations

period used in New York state law fraud actions”); see also id. at *22 (summary judgment for

defendant on laches for products “which have remained substantially the same with respect to the

color combination and pattern used since 1993 and 1995”); Eppendorf-Netheler-Hinz GmbH v.

Enterton Co., 89 F. Supp. 2d 483, 485 (S.D.N.Y. 2000), aff’d sub nom. Eppendorf-Netheler-Hinz

GMBH v. Nat’l Sci. Supply Co., 14 F. App’x 102 (2d Cir. 2001) (summary judgment for defendant

on laches where plaintiff delay was 8 years); SUF ¶ 101 (Andrea Bastiani Archibald’s

acknowledgement that “‘scouts’ generally refers to Boy Scouts” more than six years before action

filed). Indeed, GSUSA’s lengthy delay entitles the BSA to a presumption of laches, which shifts

the burden to GSUSA to disprove the doctrine’s application. See Haggar Int’l Corp. v. United Co.


22
    Before authorizing this lawsuit in 2018, GSUSA’s then-CEO had received emails describing
“Scouting” as a term that the BSA has “historically” used “for the organization and its activities.”
SUF ¶ 103. This evidence demonstrates not only that GSUSA’s allegation in its Complaint that
the BSA “is now trying to alter its core brand identity from BOY SCOUTS to SCOUTS” (Compl.
¶ 5) was demonstrably false when filed, but that GSUSA’s top executives knew it was false.

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for Food Indus. Corp., 2008 WL 11412128, at *5 (E.D.N.Y. Mar. 11, 2008) (“Once the

presumption arises, the burden shifts to the other party to come forward with evidence to establish

that the delay was excusable and there was no prejudice resulting from the delay.”).

       To be sure, the BSA has been economically prejudiced by GSUSA’s now-pressed claim,

decades after the BSA began using SCOUT-formative marks without being preceded by “boy” in

connection with its programs for girls and boys. The BSA expanded its program offerings for girls

and women over the years and spent significant sums marketing the expanded Cub Scouts and

Scouts BSA programs. Examples of these incurred expenditures include: (1) adopting the name

“Scouts BSA” and associated marketing costs for the expanded programs; (2) creating handbooks

and associated costs; (3) creating uniforms and related items, such as T-shirts, and associated costs;

and (4) rebranding “Boy Scouts” items and associated costs. SUF ¶ 108. This prejudice also

includes the significant sums that the BSA has incurred running its co-ed Sea Scouts and STEM

Scouts programs, as well as co-ed Venturing program and continuing to use Scout-branding during

the delay period. SUF ¶ 109. The BSA would be unduly prejudiced if GSUSA was permitted to

pursue its claim now. 23



23
    See Juicy Couture, 2006 WL 1012939, at *34 (prejudice “clearly established” where defendant
“made a substantial commitment of corporate talent and money to the development of its … line
of products”); Eppendorf-Netheler-Hinz GmbH, 89 F. Supp. 2d at 487 (prejudice due to
“substantial expenditure of resources and effort to develop [] business in the United States”); Trs.
of Columbia Univ. v. Columbia/HCA Healthcare Corp., 964 F. Supp. 733, 753 (S.D.N.Y. 1997)
(prejudice where “the defendant spent millions of dollars developing programs that prominently
feature the Columbia name”). The BSA is also prejudiced by GSUSA’s delay because the BSA’s
use of the SCOUT Marks goes back many decades, during which evidentiary materials are no
longer available and witnesses have died, left the BSA, or memories have faded. See RBC Nice
Bearings, Inc. v. Peer Bearing Co., 410 F. App’x 362, 365 (2d Cir. 2010) (affirming finding of
prejudice because of “the difficulties posed by defending this action after so many years have
passed” including because “memories faded and documents been lost” and because “many of the
individuals who would have knowledge regarding the issues relevant to this case are now dead”)
(quotations omitted).

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       Because GSUSA records confirm it knew of the BSA’s use of SCOUT-related marks for

years – including in connection with programs and services that welcomed girls – but sat by as the

BSA invested in building that goodwill, the BSA is entitled to summary judgment on its

affirmative defense of laches and judgment entered for the BSA on Counts I – VI.

V.     GSUSA HAS FAILED TO CREATE A TRIABLE ISSUE ON ITS CLAIM FOR
       TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS RELATIONS

       GSUSA’s tortious interference claim is wholly unsupported by any facts whatsoever and

should be dismissed. It was never pleaded properly in the first place (see Dkt. 19 at 7-13), let alone

has it been proven.

       To prevail on a claim for tortious interference with prospective business relations, a

plaintiff “must prove that ‘[1] it had a business relationship with a third party; [2] the defendant

knew of that relationship and intentionally interfered with it; [3] the defendant acted solely out of

malice, or used dishonest, unfair, or improper means; and [4] the defendant’s interference caused

injury to the relationship.’” LuxSoma LLC v. Leg Res., Inc., 289 F. Supp. 3d 514, 525 (S.D.N.Y.

2018); see also Lombardo v. Dr. Seuss Enters., L.P., 2017 WL 1378413, at *4 (S.D.N.Y. Apr. 7,

2017) (Hellerstein, J.) (citing same elements).24 Courts are “stingy in their interpretation of this

tort,” resisting invitations to lower the bar for the wrongful conduct required. Darby Trading Inc.

v. Shell Int’l Trading & Shipping Co., 568 F. Supp. 2d 329, 346 (S.D.N.Y. 2008) (collecting cases).

Discovery has confirmed that GSUSA has no evidence to support the required elements.




24
    The tort is alternatively “referred to as tortious interference with prospective business relations
or prospective economic advantage, among other names, but the legal standard is the same.”
Berwick v. New World Int’l, Ltd., 2007 WL 949767, at *14 n.11 (S.D.N.Y. Mar. 28, 2007); see
also Lombard v. Booz-Allen & Hamilton, Inc., 280 F.3d 209, 214 (2d Cir. 2002) (same elements).

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A.     GSUSA Has Identified No Specific Relationships, Let Alone Has It Demonstrated
       That The BSA Knew Of Such (Unidentified) Relationships

       GSUSA’s seven 30(b)(6) witnesses on the subject of tortious interference vaguely and

variously testified about alleged incidents they had heard about that they contended reflected

“interference” by the BSA. But none of this testimony reflects (1) any specific relationship

GSUSA had, (2) that the BSA was aware of. SUF ¶¶ 110-11. GSUSA’s witnesses acknowledged

this. SUF ¶ 110.

       The mere possibility of lost recruits or lost cookie customers is not enough; it is too

speculative to support a tortious interference claim.25 Similarly, even if GSUSA had identified

specific relationships with which the BSA purportedly interfered, it identified no evidence that the

BSA “had actual knowledge of any contract between [GSUSA] and a third party.” Ahluwalia v.

St. George’s Univ., LLC, 63 F. Supp. 3d 251, 266 (E.D.N.Y. 2014); see also Sedona Corp. v.

Ladenburg Thalmann & Co., 2009 WL 1492196, at *9 (S.D.N.Y. May 27, 2009) (dismissing claim

because “at no point does the SAC actually allege that Defendants knew about the specific business

relationships identified”). It is not enough for GSUSA to show that the BSA “is aware that GSUSA




25
    See, e.g., Daniels v. Kostreva, 2017 WL 823583, at *9 (E.D.N.Y. Jan. 12, 2017) (dismissing
claim even if possibility of lost relationship was “not farfetched”); see also, e.g., Lesnik v. Lincoln
Fin. Advisors Corp., 2020 WL 3057456, at *3 (S.D.N.Y. June 9, 2020) (granting summary
judgment for defendant because “Plaintiff has not identified any specific relationship with which
Defendant interfered” despite arguing that it had “formed relationships with ‘a book of business
with clients’”); Insurent Agency Corp. v. Hanover Ins. Co., 2018 WL 3979589, at *5 (S.D.N.Y.
Aug. 20, 2018) (recognizing dismissal of claims “containing ‘only a general allegation of
interference with customers without any sufficiently particular allegation of interference with a
specific contract or business relationship”) (quoting McGill v. Parker, 582 N.Y.S.2d 91, 95 (App.
Div. 1st Dep’t 1992)); Dentsply Int’l Inc. v. Dental Brands for Less LLC, 2016 WL 3676686, at
*6 (S.D.N.Y. July 5, 2016) (“Allegations of interference with ‘customers,’ without more, are
insufficient to state a claim for tortious interference with business relations.”); Lesesne v.
Brimecome, 918 F. Supp. 2d 221, 227 (S.D.N.Y. 2013) (dismissing claim where plaintiff failed to
“identify the potential customers at issue” with specificity).


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has a prospective business relationship with the parents and girls who attend … recruitment events.”

Dkt. 89 (Am. Compl.) ¶ 141. See, e.g., Yong Ki Hong v. KBS Am., Inc., 951 F. Supp. 2d 402, 423

(E.D.N.Y. 2013) (granting summary judgment for lack of support that “Defendants knew or should

have known the Plaintiffs had customers who enjoyed [Plaintiff’s product]”).

       As in its Complaint, in discovery GSUSA identified only a single specific relationship with

any named third party that it alleged was “interfered” with – a “Tractor Supply” store in Red Bluff,

California.   SUF ¶ 112.    GSUSA alleges that the BSA “intentionally interfered with that

relationship when it attempted to dissuade the retailer from providing booth space” to GSUSA.

Am. Compl. ¶ 142.26 However, as GSUSA representatives admitted, whatever the store employee

was told, GSUSA got its booth space and was not prevented from selling cookies there. SUF

¶ 112. Further, GSUSA admitted that it had no evidence suggesting the BSA encouraged or

approved this alleged interference. SUF ¶ 115.

B.     GSUSA Has No Evidence Whatsoever That The BSA Acted Solely Out Of Malice, Or
       Used Dishonest, Unfair, or Improper Means

       GSUSA proffered no evidence that the BSA acted solely out of malice or used improper

means, much less that its “conduct … amount[ed] to a crime or an independent tort.’” Lombardo,

2017 WL 1378413, at *4 (quoting Carvel Corp. v. Noonan, 3 N.Y.3d 182, 190 (N.Y. 2004)). To

state a claim, GSUSA “must allege that a ‘defendant’s conduct was motivated solely by malice or




26
    GSUSA based this allegation on a multiple-hearsay statement that purportedly originated with
a Girl Scout Leader Support Manager in GSUSA’s Northern District council as to what she was
supposedly told by a store clerk or manager at Tractor Supply about what he was supposedly told
by a Boy Scout leader about the BSA now serving “girl scouts.” SUF ¶ 113. Beyond what was in
an email authored by a Girl Scout council staff member relating what she was told by a Girl Scout
Leader Support Manager about what she was told by a store clerk or manager about what he was
told, GSUSA’s 30(b)(6) witnesses on this issue had no factual information. SUF ¶ 114; see also
Scher Decl., ¶ 136 (identifying corporate designee).


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to inflict injury by unlawful means, beyond mere self-interest or other economic considerations.’”

S&L Vitamins, Inc. v. Australian Gold, Inc., 521 F. Supp. 2d 188, 217 (E.D.N.Y. 2007); see also

NBT Bancorp Inc. v. Fleet/Norstar Fin. Grp. Inc., 628 N.Y.S.2d 408, 412 (3d Dep’t 1995), aff’d,

87 N.Y.2d 614 (1996) (granting summary judgment to defendant where evidence showed at most

that defendant’s alleged acts “were done to secure an economic advantage, not solely to injure

plaintiffs”).27 The only “relationship” identified, the Red Bluff incident, was not even an act of

the BSA, but concerned statements allegedly made by a unit leader of a local council. GSUSA

has proffered no evidence whatsoever as to purported malice on the part of that unnamed local

council unit leader nor on the part of any BSA personnel. SUF ¶ 115.

C.     GSUSA Has No Evidence Of Injury

        GSUSA also has utterly failed to identify any evidence of specific injury that directly

resulted from the BSA’s purported interference with any prospective relationship. SUF ¶¶ 110-

111. Again, the only “relationship” identified pertained to the opportunity to sell cookies in front

of the Red Bluff Tractor Store, and there, GSUSA admittedly suffered no actual injury because it

was indeed given cookie selling space.28 SUF ¶¶ 112.




27
    See also, e.g., RFP LLC v. SCVNGR, Inc., 788 F. Supp. 2d 191, 196 (S.D.N.Y. 2011) (plaintiff
must show “defendant acted with the sole purpose of harming the plaintiff or used dishonest, unfair,
or improper means”) (emphasis in original) (quoting Premium Mortg. Corp. v. Equifax, Inc., 583
F.3d 103, 107 (2d Cir. 2009)); MVB Collision, Inc. v. Progressive Ins. Co., 13 N.Y.S.3d 139, 140
(App. Div. 2015) (affirming dismissal of tortious interference claim where the defendant’s
“conduct was, at least in part, to advance its own interests, not solely for the purpose of harming
the plaintiff”).
28
    See Gym Door Repairs, Inc. v. Young Equip. Sales, Inc., 331 F. Supp. 3d 221, 244-45 (S.D.N.Y.
2018), reconsid. denied, 2018 WL 5650004 (S.D.N.Y. Oct. 30, 2018) (granting summary judgment
for defendants where plaintiffs did not present any evidence showing alleged interference caused
injury); Tucker v. Wyckoff Heights Med. Ctr., 52 F. Supp. 3d 583, 599 (S.D.N.Y. 2014) (“Plaintiff
also fails to demonstrate that, but for Defendants’ interference with the doctors from whom she
sought employment, she would have been hired.”).

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       GSUSA also failed to identify any damages associated with its tortious interference claim

at all, as its damages expert admitted. SUF ¶ 116. Indeed, GSUSA could not identify even a

“correlation between BSA impact and GS membership loss,” much less the loss of any specific

contract. SUF ¶ 117. Because GSUSA’s tortious interference claim lacks any colorable basis now

(just as it did when filed), summary judgment should be granted on Count VII.

VI.    GSUSA HAS IDENTIFIED NO RECOVERABLE DAMAGES

       The BSA also is entitled to summary judgment with respect to GSUSA’s damages claims,

as the BSA has proffered no evidence for its two requested remedies: disgorgement of the BSA’s

profits and “corrective advertising” as a form of GSUSA’s actual damages.

       A.     The BSA Is Entitled To Summary Judgment On GSUSA’s Claim For
              Disgorgement Damages

       GSUSA’s claim for disgorgement damages fails because, as set forth in the accompanying

BSA’s Motion to Exclude Testimony of Lauren Kindler (incorporated by reference as though fully

set forth herein); GSUSA has no evidence of or basis to calculate a reasonable estimate of girls

who have been purportedly confused by the BSA’s advertising. GSUSA’s damages expert Ms.

Kindler offers two disgorgement figures, both of which are based on GSUSA’s made-for-litigation

surveys that either have already been excluded (the Butler Confusion Survey) or are about to be

excluded by the Court (the Ericksen Confusion Survey). Absent those surveys, Ms. Kindler’s

disgorgement calculations are missing a required variable – the confusion rate – and thus cannot

provide the factfinder with an estimate of the profits associated with girls who purportedly

mistakenly signed up for Cub Scouts or Scouts BSA. See Mot. to Exclude Kindler at 5-7; Kargo

Global, 2007 WL 2258688, at *12-13. Additionally, even if Dr. Ericksen’s survey is not excluded

in its entirety (as it should be), Dr. Ericksen admitted his survey did not test any Cub Scouts

marketing material, and thus, his confusion rate cannot be used to calculate the BSA’s alleged


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profits associated with its Cub Scouts program, as Ms. Kindler purports to do. See Mot. to Exclude

Kindler at 7-8. Thus, GSUSA’s $3,911,936 Cub Scouts Disgorgement Remedy is missing a

required variable and cannot proceed to a jury. See Kargo Global, 2007 WL 2258688, at *12-13.

       B.        The BSA Is Entitled To Summary Judgment On GSUSA’s So-Called
                 “Corrective Advertising” Damages

       GSUSA’s seeks “actual damages” in the form of its expenditures for purported “corrective

advertising” to correct the supposed marketplace confusion caused by the BSA’s alleged

trademark infringement and dilution. SUF ¶ 118. GSUSA is not entitled to actual damages here,

and even if it was, it has proffered no “corrective advertising” expenses to speak of.

       “Corrective advertising is a remedy that seeks to counteract public confusion resulting from

trademark infringement.” Juicy Couture, Inc. v. L’Oreal USA, Inc., 2006 WL 1359955, at *1

(S.D.N.Y. May 18, 2006). To recover corrective advertising expenditures under the Lanham Act,

the corrective advertising “must be reasonable and causally related to the” violation. Mobius Mgmt.

Sys., Inc. v. Fourth Dimension Software, Inc., 880 F. Supp. 1005, 1025 n.13 (S.D.N.Y. 1994) (false

advertising); cf. C=Holdings B.VC. v. Asiarim Corp., 992 F. Supp. 2d 223, 250 (S.D.N.Y. 2013).

       It is axiomatic that the corrective advertising must actually seek to correct the alleged

confusion at issue – such as, in the present case, the misimpression that the parties are associated.

C=Holdings, 992 F. Supp. 2d at 250. Courts will not award a plaintiff damages for its general

advertising.29


29
    See, e.g., Zerorez Franchising Sys., Inc. v. Distinctive Cleaning, Inc., 2016 WL 2637801, at *5
(D. Minn. May 6, 2016) (granting defendant summary judgment on actual damages, rejecting
plaintiff’s claim to “corrective advertising” damages as a matter of law: “Rather than being
corrective, these advertisements are self[-]promotional. … Claiming to provide a heightened level
of service over the competition is typical promotion and does nothing to correct Defendants’
trademark infringement. The same is true for … [advertisements] promoting a competitive
advantage rather than correcting trademark infringement.”); cf. WE Media, 218 F. Supp. 2d at 473-
74 (rejecting request for $50 million in actual damages for “promotion of its marks,” instead

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       1.      GSUSA Does Not Qualify For Actual Damages In The First Place

       First, as a threshold matter, in the Second Circuit for a plaintiff to qualify for an award of

actual damages she “must prove either actual consumer confusion or deception resulting from the

violation, or that the defendant’s actions were intentionally deceptive.” George Basch Co. v. Blue

Coral, Inc., 968 F.2d 1532, 1537 (2d Cir. 1992) (quotations omitted);30 For the reasons set forth

above, see supra Parts I.E-F, GSUSA has no admissible evidence on either score, and thus is

ineligible for any actual damages (including in the form of corrective advertising).

       2.      GSUSA Admits Its Expenses Were Not Focused on Correcting Anything

       GSUSA improperly seeks reimbursement of general advertising expenses that it has

admitted were not corrective. As GSUSA’s 30(b)(6) witness Lynn Godfrey confirmed, none of

the advertising at issue sought to “correct” any alleged acts of trademark infringement or even

sought to reinforce that the BSA and GSUSA are separate organizations:

               Q.     “In 2018, did you design any ads to correct statements made
                      by BSA’s advertising?”

               A.     “…We weren’t focused on correcting statements.”

SUF ¶ 119 (emphasis added); Scher Decl., ¶ 136. Ms. Godfrey further admitted that none of the

advertising related to the damages GSUSA seeks even mentioned the BSA. SUF ¶ 120 (“Q. Did



requiring evidence of losses quantifying “the nominal amount of manpower to correcting confused
impressions”).
30
     See Pfizer, Inc. v. Y2K Shipping & Trading, Inc., 2004 WL 896952, at *9 (E.D.N.Y. Mar. 26,
2004) (finding likelihood of confusion and dilution, but denying actual damages because “Plaintiff
has not proven actual confusion or deception through circumstantial evidence, and has failed to
demonstrate that Defendants’ actions are … intentionally deceptive”); see also, e.g., W.W.W.
Pharm., 984 F.2d at 576 n.6 (“in this circuit proof of real and precise actual consumer confusion
is required to recover damages”); Randa Corp. v. Mulberry Thai Silk, Inc., 2000 WL 1741680, at
*2 (S.D.N.Y. Nov. 27, 2000) (“To show entitlement to monetary damages under Section 43(a), a
plaintiff must show an additional element – he or she must show actual damages … that were
causally related to ‘actual consumer confusion or deception’ of the purchasing public.”).


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any of Girl Scouts advertising in 2018 mention Boy Scouts? A. Coming from GSUSA? No, not

that I recall.”).31 These admissions from GSUSA’s 30(b)(6) witness are dispositive.

       3.     On Their Face, GSUSA’s Expenses Were Mere General Advertising And Thus
              Unrecoverable

       Even a cursory glance confirms that GSUSA’s “corrective advertising” was simply general

advertising and promotional work, which GSUSA undertook to combat what it considered to be

competition from the BSA. For instance,




                    As can be seen from the below examples of digital ad assets, these general

promo pieces have no plausible connection to any form of corrective advertising:




31
    GSUSA unsuccessfully tries to bolster its claim by having its damages expert parrot GSUSA’s
witnesses’ self-serving testimony, but she offered no expert opinions on this subject, and her
testimony on this issue should be excluded. See Motion to Exclude Testimony of Lauren Kindler
at 9-12.

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SUF ¶ 119; Scher Decl., Ex. VVVVV at -684, -85, -86.




       This is unsurprising, as the budget for this advertising was approved in April 2018, before

the allegedly confusing BSA May 2018 “Scout Me In” advertising campaign even launched.

Compare SUF ¶ 124 (BSA announcement in May 2018), with SUF ¶ 124 (GSUSA budget

approved in April 2018). And, the

                                                                            Instead, it speaks of

responding to “competitive action,” Scher Decl., Ex. HHHH, which is not recoverable. See, e.g.,

Zerorez Franchising Sys., Inc., 2016 WL 2637801, at *5.

       Likewise, much of GSUSA’s expenses were not for advertising at all, but rather were for

(unrecoverable) projects



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       Summary judgment should be granted on GSUSA’s so-called corrective advertising

expenses. See, e.g., Am. Auto. Ass’n of N. Cal., Nev. & Utah v. Gen. Motors LLC, 367 F. Supp.

3d 1072, 1107 (N.D. Cal. 2019).

                                      CONCLUSION

       The Court should grant the BSA’s motion for summary judgment in full.


Dated: November 24, 2020              Respectfully submitted,


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